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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT


   In re:                                                   Chapter 11

             HO WAN KWOK, et al.,                           Case No. 22-50073 (JAM)

                               Debtors.                     (Jointly Administered)


   LUC A. DESPINS, CHAPTER 11
   TRUSTEE,                                                 Adv. Proc. No. 24-05117

                               Plaintiff,

             v.


   META PLATFORMS, INC.,

                               Defendant.


                                       NOTICE OF APPEAL

  Part I: Identify the Appellant

            1.    Name of appellant: Meta Platforms, Inc.

            2.    Position of appellant in the adversary proceeding or bankruptcy case that is the

  subject of this appeal: Defendant in the above-captioned adversary proceeding, No. 24-05117

  (JAM).

  Part 2: Identify the Subject of This Appeal

            1.    Describe the judgment—or the appealable order or decree—from which the appeal

  is taken: Memorandum of Decision and Order (I) Denying Joint Defendants’ Motions to Dismiss

  or for Judgment on the Pleadings (II) Denying in Part Other Defendants’ Motions to Dismiss; and

  (III) Overruling in Part Zeisler & Zeisler, P.C.’s Objection to the Trustee’s Motion for Judgment
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  on the Pleadings, entered in the bankruptcy case (ECF Dkt. No. 4189), a copy of which is attached

  as Exhibit 1.

         2.       State the date on which the judgment—or the appealable order or decree—was

  entered: March 4, 2025.

  Part 3: Identify the Other Parties to the Appeal

         List the names of all parties to the judgment—or the appealable order or decree—from

  which the appeal is taken and the names, addresses, and telephone numbers of their attorneys:

   Party                                             Attorneys
   Meta Platforms, Inc.                              George Angelich (ct27542)
                                                     Eric Roman (admitted pro hac vice)
   Appellant                                         Patrick Feeney (admitted pro hac vice)
                                                     ArentFox Schiff LLP
                                                     1301 Avenue of the Americas, 42nd Floor
                                                     New York, NY 10019
                                                     T: 212.457.5423
                                                     E: george.angelich@afslaw.com
                                                        eric.roman@afslaw.com
                                                        patrick.feeney@afslaw.com

                                                     - and -

                                                     Jin Yan (admitted pro hac vice)
                                                     ArentFox Schiff LLP
                                                     1717 K St. NW
                                                     Washington, DC 20006
                                                     T: 202.778.6442
                                                     E: jin.yan@afslaw.com
   Luc A. Despins, as Chapter 11 Trustee             Douglas S. Skalka (ct00616)
                                                     Patrick R. Linsey (ct29437)
                                                     Neubert, Pepe & Monteith, P.C.
   Appellee
                                                     195 Church St., 13th Fl.
                                                     New Haven, CT 06510
                                                     T: (203) 821-2000
                                                     E: dskalka@npmlaw.com
                                                        plinsey@npmlaw.com

                                                     - and -

                                                     Douglass Barron (admitted pro hac vice)


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  Party                                      Attorneys
                                             Paul Hastings LLP
                                             200 Park Ave.
                                             New York, NY 10166
                                             T: (212) 318-6000
                                             E: douglassbarron@paulhastings.com

                                             - and -

                                             Nicholas A. Bassett (admitted pro hac vice)
                                             Paul Hastings LLP
                                             2050 M St. NW
                                             Washington, D.C. 20036
                                             T: (202) 551-1902
                                             E: nicholasbassett@paulhastings.com

  Dated: March 18, 2025                      /s/ George Angelich
         New York, New York                  George Angelich (ct27542)
                                             Eric Roman (admitted pro hac vice)
                                             Patrick Feeney (admitted pro hac vice)
                                             ArentFox Schiff LLP
                                             1301 Avenue of the Americas, 42nd Floor
                                             New York, NY 10019
                                             T: 212.457.5423
                                             E: george.angelich@afslaw.com
                                                 eric.roman@afslaw.com
                                                 patrick.feeney@afslaw.com

                                             - and -

                                             Jin Yan (admitted pro hac vice)
                                             ArentFox Schiff LLP
                                             1717 K St. NW
                                             Washington, DC 20006
                                             T: 202.778.6442
                                             E: jin.yan@afslaw.com

                                             Counsel for Meta Platforms, Inc.




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                                    CERTIFICATE OF SERVICE

          I certify that on March 18, 2025, I caused a true and correct copy of the foregoing document

  to be filed with the Clerk of the Court using the CM/ECF filing system, which will send notification

  of such filing to all attorneys of record.



  Dated: New York, New York
         March 18, 2025
                                                       /s/ George Angelich
                                                       George Angelich
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                                EXHIBIT 1
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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT

                                                               )
     In re:                                                    )     Chapter 11
                                                               )     Case No. 22-50073 (JAM)
              HO WAN KWOK, et al.,                             )     (Jointly Administered)
                                                               )
                         Debtors.                              )     Re: ECF Nos. 3577, 3713
                                                               )
                                                               )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                )     Adv. P. No. 24-05005 (JAM)
     ESTATE OF HO WAN KWOK,                                    )
                                                               )     Re: ECF No. 24
                         Plaintiff,                            )
                                                               )
              v.                                               )
                                                               )
     AGORA LAB, INC.,                                          )
                                                               )
                         Defendant.                            )
                                                               )
                                                               )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                )     Adv. P. No. 24-05006 (JAM)
     ESTATE OF HO WAN KWOK,                                    )
                                                               )     Re: ECF No. 21
                         Plaintiff,                            )
                                                               )
              v.                                               )
                                                               )
     AMAZON WEB SERVICES, INC.,                                )
                                                               )
                         Defendant.                            )
                                                               )
                                                               )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                )     Adv. P. No. 24-05010 (JAM)
     ESTATE OF HO WAN KWOK,                                    )
                                                               )     Re: ECF No. 26
                         Plaintiff,                            )
                                                               )
              v.                                               )
                                                               )
     DIRECT PERSUASION LLC,                                    )
                                                               )
                         Defendant.                            )
                                                               )
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                                                                   )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05015 (JAM)
     ESTATE OF HO WAN KWOK,                                        )
                                                                   )     Re: ECF No. 23
                        Plaintiff,                                 )
                                                                   )
          v.                                                       )
                                                                   )
     FOX NEWS NETWORK, LLC,                                        )
                                                                   )
                        Defendant.                                 )
                                                                   )
                                                                   )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05031 (JAM)
     ESTATE OF HO WAN KWOK,                                        )
                                                                   )     Re: ECF No. 17
                        Plaintiff,                                 )
                                                                   )
          v.                                                       )
                                                                   )
     ARRI AMERICAS, INC.,                                          )
                                                                   )
                        Defendant.                                 )
                                                                   )
                                                                   )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05044 (JAM)
     ESTATE OF HO WAN KWOK,                                        )
                                                                   )     Re: ECF No. 20
                        Plaintiff,                                 )
                                                                   )
          v.                                                       )
                                                                   )
     TERIS-PHOENIX, LLC,                                           )
                                                                   )
                        Defendant.                                 )
                                                                   )


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                                                                      )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                       )     Adv. P. No. 24-05047 (JAM)
     ESTATE OF HO WAN KWOK,                                           )
                                                                      )     Re: ECF No. 23
                          Plaintiff,                                  )
                                                                      )
            v.                                                        )
                                                                      )
     PHILLIPS NIZER LLP,                                              )
                                                                      )
                          Defendant.                                  )
                                                                      )
                                                                      )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                       )     Adv. P. No. 24-05048 (JAM)
     ESTATE OF HO WAN KWOK,                                           )
                                                                      )     Re: ECF No. 21
                          Plaintiff,                                  )
                                                                      )
            v.                                                        )
                                                                      )
     MARK GUNDERSON,                                                  )
                                                                      )
                          Defendant.                                  )
                                                                      )
                                                                      )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                       )     Adv. P. No. 24-05055 (JAM)
     ESTATE OF HO WAN KWOK,                                           )
                                                                      )     Re: ECF No. 17
                          Plaintiff,                                  )
                                                                      )
            v.                                                        )
                                                                      )
     270 W. 39th St. Co., LLC,                                        )
                                                                      )
                          Defendant.                                  )
                                                                      )


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                                                                     )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                      )     Adv. P. No. 24-05056 (JAM)
     ESTATE OF HO WAN KWOK,                                          )
                                                                     )     Re: ECF No. 17
                          Plaintiff,                                 )
                                                                     )
           v.                                                        )
                                                                     )
     FFP (BVI) LIMITED,                                              )
                                                                     )
                          Defendant.                                 )
                                                                     )
                                                                     )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                      )     Adv. P. No. 24-05057 (JAM)
     ESTATE OF HO WAN KWOK,                                          )
                                                                     )     Re: ECF No. 42
                          Plaintiff,                                 )
                                                                     )
           v.                                                        )
                                                                     )
     AMAZON.COM, INC., HING CHI NGOK, ALEX                           )
     HADJICHARALAMBOUS, CHUNGUANG HAN, and                           )
     MEI GUO,                                                        )
                                                                     )
                          Defendants.                                )
                                                                     )
                                                                     )
     LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                      )     Adv. P. No. 24-05058 (JAM)
     ESTATE OF HO WAN KWOK,                                          )
                                                                     )     Re: ECF No. 21
                          Plaintiff,                                 )
                                                                     )
           v.                                                        )
                                                                     )
     ANTHEM HEALTH PLANS, INC.,                                      )
                                                                     )
                          Defendant.                                 )
                                                                     )


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                                                                   )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                   )     Adv. P. No. 24-05059 (JAM)
      ESTATE OF HO WAN KWOK,                                       )
                                                                   )     Re: ECF No. 20
                         Plaintiff,                                )
                                                                   )
           v.                                                      )
                                                                   )
      FEDERAL EXPRESS CORPORATION,                                 )
                                                                   )
                         Defendant.                                )
                                                                   )
                                                                   )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                   )     Adv. P. No. 24-05063 (JAM)
      ESTATE OF HO WAN KWOK,                                       )
                                                                   )     Re: ECF No. 22
                         Plaintiff,                                )
                                                                   )
           v.                                                      )
                                                                   )
      DJD CREATIVE LLC,                                            )
                                                                   )
                         Defendant.                                )
                                                                   )
                                                                   )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                   )     Adv. P. No. 24-05069 (JAM)
      ESTATE OF HO WAN KWOK,                                       )
                                                                   )     Re: ECF No. 35
                         Plaintiff,                                )
                                                                   )
           v.                                                      )
                                                                   )
      B&H FOTO & ELECTRONICS CORP., HING CHI                       )
      NGOK, ALEX HADJICHARALAMBOUS, and                            )
      CHUNGUANG HAN,                                               )
                                                                   )
                         Defendants.                               )
                                                                   )


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                                                       v
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                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05077 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 18
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      AMERICAN EXPRESS COMPANY,                                     )
                                                                    )
                         Defendant.                                 )
                                                                    )
                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05082 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 17
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      OHTZAR SHLOMO SOLOMON TREASURE LLC,                           )
                                                                    )
                         Defendant.                                 )
                                                                    )
                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05092 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 21
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      ZETA GLOBAL CORP.,                                            )
                                                                    )
                         Defendant.                                 )
                                                                    )


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                                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                 )     Adv. P. No. 24-05100 (JAM)
      ESTATE OF HO WAN KWOK,                                     )
                                                                 )     Re: ECF No. 17
                         Plaintiff,                              )
                                                                 )
           v.                                                    )
                                                                 )
      GROCYBER, LLC,                                             )
                                                                 )
                         Defendant.                              )
                                                                 )
                                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                 )     Adv. P. No. 24-05108 (JAM)
      ESTATE OF HO WAN KWOK,                                     )
                                                                 )     Re: ECF No. 22
                         Plaintiff,                              )
                                                                 )
           v.                                                    )
                                                                 )
      CONSERVATIVE CAMPAIGN TECHNOLOGY, LLC,                     )
                                                                 )
                         Defendant.                              )
                                                                 )
                                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                 )     Adv. P. No. 24-05110 (JAM)
      ESTATE OF HO WAN KWOK,                                     )
                                                                 )     Re: ECF No. 19
                         Plaintiff,                              )
                                                                 )
           v.                                                    )
                                                                 )
      AARON MITCHELL,                                            )
                                                                 )
                         Defendant.                              )
                                                                 )


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                                                               )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE               )     Adv. P. No. 24-05112 (JAM)
      ESTATE OF HO WAN KWOK,                                   )
                                                               )     Re: ECF No. 23
                         Plaintiff,                            )
                                                               )
           v.                                                  )
                                                               )
      ANTHEM HEALTHCHOICE ASSURANCE, INC.,                     )
      f/k/a EMPIRE HEALTHCHOICE ASSURANCE, INC.,               )
      d/b/a EMPIRE BLUE CROSS BLUE SHIELD,                     )
                                                               )
                         Defendant.                            )
                                                               )
                                                               )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE               )     Adv. P. No. 24-05114 (JAM)
      ESTATE OF HO WAN KWOK,                                   )
                                                               )     Re: ECF No. 21
                         Plaintiff,                            )
                                                               )
           v.                                                  )
                                                               )
      MODSQUAD INC.,                                           )
                                                               )
                         Defendant.                            )
                                                               )
                                                               )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE               )     Adv. P. No. 24-05115 (JAM)
      ESTATE OF HO WAN KWOK,                                   )
                                                               )     Re: ECF No. 22
                         Plaintiff,                            )
                                                               )
           v.                                                  )
                                                               )
      CLOUDFLARE, INC.,                                        )
                                                               )
                         Defendant.                            )
                                                               )


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                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05120 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 17
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      3 COLUMBUS CIRCLE LLC,                                        )
                                                                    )
                         Defendant.                                 )
                                                                    )
                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05122 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 19
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      INDIUM SOFTWARE, INC.,                                        )
                                                                    )
                         Defendant.                                 )
                                                                    )
                                                                    )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE                    )     Adv. P. No. 24-05128 (JAM)
      ESTATE OF HO WAN KWOK,                                        )
                                                                    )     Re: ECF No. 18
                         Plaintiff,                                 )
                                                                    )
           v.                                                       )
                                                                    )
      MILLER MOTORCARS INC.,                                        )
                                                                    )
                         Defendant.                                 )
                                                                    )


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                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05130 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 21
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      ON THE SPOT HOME IMPROVEMENT, INC.,                  )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05134 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 16
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      V.X. CERDA & ASSOCIATES P.A.,                        )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05135 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 19
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      LIBERTY JET MANAGEMENT CORP.,                        )
                                                           )
                       Defendant.                          )
                                                           )


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                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05138 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 19
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      TARGET ENTERPRISES, LLC,                             )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05141 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 19
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      FLAT RATE MOVERS, LTD.,                              )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05147 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 19
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      JAMESTOWN ASSOCIATES, LLC,                           )
                                                           )
                       Defendant.                          )
                                                           )


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                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05162 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 19
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      NARDELLO & CO., LLC,                                 )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05168 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 15
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      THE FRANCIS FIRM PLLC,                               )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05186 (JAM)
                                                           )    Re: ECF No. 35
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      BERKELEY ROWE LIMITED,                               )
                                                           )
                       Defendant.                          )
                                                           )


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                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05188 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 11
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      WEDDLE LAW PLLC,                                     )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05196 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 18
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      MORVILLO ABRAMOWITZ GRAND IASON &                    )
      ANELLO P.C.,                                         )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05199 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 21
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      LAWALL & MITCHELL, LLC, and                          )
      AARON MITCHELL,                                      )
                                                           )
                       Defendants.                         )
                                                           )


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                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE )           Adv. P. No. 24-05202 (JAM)
      ESTATE OF HO WAN KWOK,                     )
                                                 )           Re: ECF No. 28
                       Plaintiff,                )
                                                 )
            v.                                   )
                                                 )
      CLAYMAN ROSENBERG KIRSHNER & LINDER LLP, )
                                                 )
                       Defendant.                )
                                                 )
                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE )           Adv. P. No. 24-05204 (JAM)
      ESTATE OF HO WAN KWOK,                     )
                                                 )           Re: ECF No. 19
                       Plaintiff,                )
                                                 )
            v.                                   )
                                                 )
      G4S SECURITY SYSTEMS (HONG KONG) LTD.,     )
                                                 )
                       Defendant.                )
                                                 )
                                                 )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE )           Adv. P. No. 24-05208 (JAM)
      ESTATE OF HO WAN KWOK,                     )
                                                 )           Re: ECF No. 17
                       Plaintiff,                )
                                                 )
            v.                                   )
                                                 )
      ZEISLER & ZEISLER, P.C.,                   )
                                                 )
                       Defendant.                )
                                                 )


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                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05211 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 18
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      PUTNAM’S LANDSCAPING LLC,                            )
                                                           )
                       Defendant.                          )

                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05219 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 23
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      JASON MILLER,                                        )
                                                           )
                       Defendant.                          )
                                                           )
                                                           )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE           )    Adv. P. No. 24-05222 (JAM)
      ESTATE OF HO WAN KWOK,                               )
                                                           )    Re: ECF No. 18
                       Plaintiff,                          )
                                                           )
           v.                                              )
                                                           )
      SEDGWICK REALTY CORP.,                               )
                                                           )
                       Defendant.                          )
                                                           )


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                                                         )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE         )      Adv. P. No. 24-05225 (JAM)
      ESTATE OF HO WAN KWOK,                             )
                                                         )      Re: ECF No. 21
                       Plaintiff,                        )
                                                         )
           v.                                            )
                                                         )
      CIRRUS DESIGN CORPORATION, and QIANG GUO,          )
                                                         )
                       Defendant.                        )
                                                         )
                                                         )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE         )      Adv. P. No. 24-05226 (JAM)
      ESTATE OF HO WAN KWOK,                             )
                                                         )      Re: ECF No. 26
                       Plaintiff,                        )
                                                         )
           v.                                            )
                                                         )
      ACASS CANADA LTD.,                                 )
                                                         )
                       Defendant.                        )
                                                         )
                                                         )
      LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR THE         )      Adv. P. No. 24-05229 (JAM)
      ESTATE OF HO WAN KWOK,                             )
                                                         )      Re: ECF No. 25
                       Plaintiff,                        )
                                                         )
           v.                                            )
                                                         )
      MARCUM LLP,                                        )
                                                         )
                       Defendant.                        )
                                                         )




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                                           APPEARANCES

      G. Alexander Bongartz                          Douglas S. Skalka
      Douglass Barron                                James C. Graham
      Paul Hastings LLP                              Patrick R. Linsey
      200 Park Avenue                                Neubert, Pepe & Montieth
      New York, NY 10166                             195 Church Street, 13th Floor
                                                     New Haven, CT 06510
         and

      Nicholas A. Bassett (argued)
      Paul Hastings LLP
      2050 M Street NW
      Washington, D.C. 20036

       Counsel for Movant and Respondent Mr. Luc A. Despins, Chapter 11 Trustee for the Estate of
                                    Mr. Ho Wan Kwok, Plaintiff

      Benjamin O. Gilbert
      Lindsay C. Stone
      Sheppard Mullin Richter & Hampton, LLP
      30 Rockefeller Plaza
      New York, NY 10112

         and

      Alan H. Martin
      Sheppard, Mullin, Richter & Hampton, LLP
      650 Town Center Drive, 10th Floor
      Costa Mesa, CA 92626

                              Counsel for Movant Agora Lab, Inc., Defendant


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      Lindsay Sampson Bishop
      K&L Gates LLP
      One Congress Street, Suite 2900
      Boston, MA 02114

         and

      Brian T. Peterson (argued)
      Ruby A. Nagamine
      K&L Gates LLP
      925 4th Ave, Suite 2900
      Seattle, WA 98104

            Counsel for Movants Amazon Web Services, Inc., and Amazon.com, Inc., Defendants

      Benjamin Mintz                                 Eric S. Goldstein (argued)
      Arnold & Porter Kaye Scholer LLP               Shipman & Goodwin LLP
      250 West 55th Street                           One Constitution Plaza
      New York, NY 10019                             Hartford, CT 06103

         and                                              and

      Ryan M. Trombley                               Jessica Signor
      Arnold & Porter Kaye Scholer LLP               Shipman & Goodwin LLP
      70 West Madison Street, Suite 4200             300 Atlantic Street, Third Floor
      Chicago, IL 60602                              Stamford, CT 06901

                          Counsel for Movant Direct Persuasion LLC, Defendant

      Steven G. Mintz                                Henry P. Baer
      Barry M. Kazan                                 Eilis A. Meagher
      Philip Ian Tafet                               Finn Dixon & Herling LLP
      Mintz & Gold LLP                               Six Landmark Square, Suite 600
      600 Third Avenue, 25th Floor                   Stamford, CT 06901
      New York, NY 10016

               Counsel for Movants Fox News Network, LLC, and Marcum LLP, Defendants

      Michael T. Conway
      Lazare Potter Giacovas & Moyle LLP
      747 Third Ave., 16th Floor
      New York, NY 10017

                            Counsel for Movant Arri Americas Inc., Defendant




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      Andrea Chase                                    Henry P. Baer
      Spencer Fane                                    Eilis A. Meagher
      1000 Walnut Street, Suite 1400                  Finn Dixon & Herling LLP
      Kansas City, MO 64106                           Six Landmark Square, Suite 600
                                                      Stamford, CT 06901

                           Counsel for Movant Teris-Phoenix, LLC, Defendant

      Jared R. Clark                                  Robert E. Kaelin
      Phillips Nizer LLP                              Harris Beach Murtha Cullina PLLC
      485 Lexington Avenue                            280 Trumbull Street
      New York, NY 10017                              Hartford, CT 06103

                                                         and

                                                      Matthew Pesce
                                                      Harris Beach Murtha Cullina PLLC
                                                      1 Audubon Street, 3rd Floor
                                                      New Haven, CT 06106

                             Counsel for Movant Phillips Nizer LLP, Defendant

      Jeffrey Hellman
      Law Offices of Jeffrey Hellman, LLC
      195 Church Street, 10th Floor
      New Haven, CT 06510

        Counsel for Movants Mr. Mark Gundersen, Ohtzar Shlomo Solomon Treasure LLC, and Mr.
                                      Jason Miller, Defendants

      Robert N. Sensale
      Bershtein, Volpe & McKeon, PC
      900 Chapel Street, 11th Floor
      New Haven, CT 06510

                         Counsel for Movant 270 W. 39th St. Co., LLC, Defendant


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      Jeffrey M. Sklarz (argued)
      Kellianne Baranowsky
      Michelle Amanda Antao
      Green & Sklarz LLC
      One Audubon Street, 3rd Floor
      New Haven, CT 06511

      Counsel for Movants FFP (BVI) Limited, Aaron A. Mitchell, V.X. Cerda & Associates, P.A., The
        Francis Firm PLLC, Lawall & Mitchell, LLC, and G4S Security Systems (Hong Kong) Ltd.,
                                             Defendants

      Eric S. Goldstein (argued)
      Shipman & Goodwin LLP
      One Constitution Plaza
      Hartford, CT 06103

         and

      Jessica Signor
      Shipman & Goodwin LLP
      300 Atlantic Street, Third Floor
      Stamford, CT 06901

        Counsel for Movants Anthem Health Plans, Inc., Anthem HealthChoice Assurance, Inc., f/k/a
         Empire HealthChoice Assurance, Inc., d/b/a Empire Blue Cross Blue Shield, and Sedgwick
                                      Realty Corp., Defendants

      Michael A. Siedband                              Eric S. Goldstein (argued)
      Federal Express Corporation                      Nicole Lapenta
      3620 Hacks Cross Road                            Shipman & Goodwin LLP
      Building 2, 3rd Floor                            One Constitution Plaza
      Memphis, TN 38125                                Hartford, CT 06103

                                                          and

                                                       Jessica Signor
                                                       Shipman & Goodwin LLP
                                                       300 Atlantic Street, Third Floor
                                                       Stamford, CT 06901

                       Counsel for Movant Federal Express Corporation, Defendant


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      Bret Strong                                      Louis Joseph Martocchio, III
      Zachary W. Doninger                              Martocchio & Oliveira, LLC
      1790 Hughes Landing, Suite 200                   191 Main Street
      The Woodlands, TX 77380                          Southington, CT 06489

                            Counsel for Movant DJD Creative LLC, Defendant

      Scott M. Kessler                                 Tracy Ellis Williams
      Akerman LLP                                      Shipman & Goodwin LLP
      1251 Avenue of the Americas                      300 Atlantic Street, 3rd Floor
      37th Floor                                       Stamford, CT 06901
      New York, NY 10020

                      Counsel for Movant B&H Foto & Electronics Corp., Defendant

      Darryl S. Laddin                                 Ronald I. Chorches
      Frank N. White                                   Law Offices of Ronald I. Chorches LLC
      Arnall Golden Gregory LLP                        82 Wolcott Hill Road, Suite 203
      171 17th Street, N.W., Suite 2100                Wethersfield, CT 06109
      Atlanta, GA 30363

                        Counsel for Movant American Express Company, Defendant

      John J. Clarke, Jr.
      DLA Piper LLP (US)
      1251 Avenue of the Americas
      New York, NY 10020

         and

      C. Kevin Kobbe
      DLA Piper LLP (US)
      650 South Exter Street, Suite 1100
      Baltimore, MD 21202

                             Counsel for Movant Zeta Global Corp., Defendant

      Nicholas P. Vegliante
      Cohn Birnbaum & Shea
      CityPlace II, 15th Floor
      185 Asylum Street
      Hartford, CT 06103

                                 Counsel for Movant GroCyber, LLC, Defendant




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      Ilan Markus
      Barclay Damon LLP
      545 Long Wharf Drive, 9th Floor
      New Haven, CT 06511

                  Counsel for Movant Conservative Campaign Technology LLC, Defendant

      Robert E. Kaelin
      Harris Beach Murtha Cullina PLLC
      280 Trumbull Street
      Hartford, CT 06103

         and

      Matthew Pesce
      Harris Beach Murtha Cullina PLLC
      1 Audubon Street, 3rd Floor
      New Haven, CT 06106

               Counsel for Movants ModSquad, Inc., and 3 Columbus Circle, LLC, Defendants

      Sabrina L. Streusand                             Ross G. Fingold
      Streusand, Landon, Ozburn & Lemmon, LLP          Stokesbury, Shipman & Fingold
      Spyglass Point                                   10 Waterside Drive, Suite 204
      1801 South MoPac Expressway, Suite 320           Farmington, CT 06032
      Austin, TX 78746

                               Counsel for Movant Cloudflare, Inc., Defendant

      Richard J. Reding                                Elizabeth N. Krasnow
      ASK LLP                                          Eric R. Wilson
      2600 Eagan Woods Drive, Suite 400                Benjamin D. Feder
      St. Paul, MN 55121                               Kelley Drye & Warren LLP
                                                       Canterbury Green
         and                                           201 Broad Street
                                                       Stamford, CT 06901
      Edward E. Neiger
      ASK LLP
      60 East 42nd Street, 46th Floor
      New York, NY 10165

                            Counsel for Movant Indium Software, Inc., Defendant


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      Eric Seltzer
      Gilbride, Tusa, Last & Spellane LLC
      30 Brewster Lane
      Bellport, NY 11713

                           Counsel for Movant Miller Motorcars Inc., Defendant

      Justin S. Baumgartner                           Eric S. Goldstein (argued)
      Becker LLC                                      Shipman & Goodwin LLP
      354 Eisenhower Parkway, Suite 1500              One Constitution Plaza
      Livingston, NJ 07039                            Hartford, CT 06103

                   Counsel for Movant On the Spot Home Improvement, Inc., Defendant

      Gerard R. Luckman                               Patrick Tomasiewicz
      Elbert F. Nasis                                 Fazzano Tomasiewicz and Barall
      Forchelli Deegan Terrana LLP                    96 Oak Street
      333 Earle Ovington Boulevard, Suite 1010        Harford, CT 06106
      Uniondale, NY 11553

                       Counsel for Movant Liberty Jet Management Corp., Defendant

      John F. Carberry
      Kara Anne Zarchin
      Cummings & Lockwood LLC
      Six Landmark Square
      Stamford, CT 06901

        Counsel for Movants Target Enterprises, LLC, and Jamestown Associates, LLC, Defendants

      James J. Costello, Jr.
      Norris McLaughlin PA
      400 Crossing Blvd., 8th Floor
      Bridgewater, NJ 08807

                               Counsel for Flat Rate Movers, Ltd., Defendant

      Henry P. Baer
      Eilis A. Meagher
      Finn Dixon & Herling LLP
      Six Landmark Square, Suite 600
      Stamford, CT 06901

                           Counsel for Movant Nardello & Co., LLC, Defendant




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      Julie Johnston-Ahlen                           Jeffrey M. Sklarz (argued)
      Armstrong Teasdale LLP                         Kellianne Baranowsky
      100 North Riverside Plaza                      Michelle Amanda Antao
      Chicago, IL 60606                              Green & Sklarz LLC
                                                     One Audubon Street, 3rd Floor
        and                                          New Haven, CT 06511

      John G. Willard
      Armstrong Teasdale LLP
      7700 Forsyth Blvd., Suite 1800
      St. Louis, MO 63105

                          Counsel for Movant Berkeley Rowe Limited, Defendant

      Richard Corbi                                  Jeffrey M. Sklarz (argued)
      The Law Offices of Richard J. Corbi PLLC       Kellianne Baranowsky
      104 West 40th Street, Suite 4th Floor          Michelle Amanda Antao
      New York, NY 10018                             Green & Sklarz LLC
                                                     One Audubon Street, 3rd Floor
                                                     New Haven, CT 06511

                            Counsel for Movant Weddle Law PLLC, Defendant

      Rowena A. Moffett
      Brenner, Saltzman & Wallman, LLP
      271 Whitney Avenue
      New Haven, CT 06511

              Counsel for Movant Morvillo Abramowitz Grand Iason & Anello P.C., Defendant

      Brian David Linder                             Matthew D. Valauri
      Clayman Rosenberg Kirshner & Linder LLP        Wilson Elser Moskowitz Edelman & Dicker
      305 Madison Avenue, Suite 650                  1010 Washington Boulevard, Suite 603
      New York, NY 10165                             Stamford, CT 06901

               Counsel for Movant Clayman Rosenberg Kirschner & Linder LLP, Defendant

      Stephen M. Kindseth (argued)
      James M. Moriarty
      Daniel A. Byrd
      Zeisler& Zeisler, P.C.
      10 Middle Street, 15th Floor
      Bridgeport, CT 06604

                          Counsel for Movant Zeisler & Zeisler, P.C., Defendant



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      Scott M. Charmoy
      Charmoy & Charmoy
      1465 Post Road East, Suite 100
      Westport, CT 06880

                          Counsel for Movant Putnam’s Landscaping, Defendant

      Richard J. Bernard
      Faegre Drinker Biddle & Reath LLP
      1177 Avenue of the Americas
      New York, NY 10036

        and

      Josh Peterson
      Faegre Drinker Biddle & Reath LLP
      2200 Wells Fargo Center
      90 S. 7th Street
      Minneapolis, MN 55402

        and

      Jaclyn C. Marasco
      Faegre Drinker Biddle & Reath LLP
      222 Delaware Avenue, Suite 1400
      Wilmington, DE 19801

                       Counsel for Movant Cirrus Design Corporation, Defendant

      Rahman Connelly                               Jeffrey M. Sklarz (argued)
      Pillsbury Winthrop Shaw Pittman LLP           Kellianne Baranowsky
      31 West 52nd Street                           Michelle Amanda Antao
      New York, NY 10019                            Green & Sklarz LLC
                                                    One Audubon Street, 3rd Floor
                                                    New Haven, CT 06511

                          Counsel for Movant ACASS Canada LTD., Defendant




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                       MEMORANDUM OF DECISION AND ORDER
       (I) DENYING JOINT DEFENDANTS’ MOTIONS TO DISMISS OR FOR JUDGMENT
       ON THE PLEADINGS; (II) DENYING IN PART OTHER DEFENDANTS’ MOTIONS
          TO DISMISS; AND (III) OVERRULING IN PART ZEISLER & ZEISLER, P.C.’S
      OBJECTION TO THE TRUSTEE’S MOTION FOR JUDGMENT ON THE PLEADINGS

      Julie A. Manning, United States Bankruptcy Judge

             This case involves an individual Chapter 11 debtor who is alleged to have been involved

      in an extensive shell game involving hundreds of corporate alter egos. The Chapter 11 trustee

      has filed more than 260 actions seeking to avoid transfers nominally made by these alter egos.

      Forty-eight avoidance action defendants, including many who are participating in mandatory

      mediation with the Chapter 11 trustee, have asked this Court to decide four common issues

      relating to the interaction of alter ego and avoidable transfer law. The sheer number of

      defendants, complaints, and alleged alter egos complicates the analysis. However, when

      analyzing the issues in light of the facts alleged in the complaints, which the Court must take as

      true, the result is clear. For the reasons stated below, the Court concludes that none of the four

      common issues raised by the avoidance action defendants merit dismissal of the avoidance

      actions.

      I.     INTRODUCTION

             Before the Court are several motions to dismiss or for judgment on the pleadings filed by

      avoidance action defendants. The avoidance actions were commenced by Mr. Luc A. Despins,

      the Chapter 11 trustee (the “Trustee”) for the bankruptcy estate of Mr. Ho Wan Kwok (the

      “Individual Debtor”). The Trustee seeks to avoid and recover alleged fraudulent transfers and

      unauthorized post-petition transfers pursuant to sections 544, 548, 549, and 550 of title 11 of the

      United States Code (the “Bankruptcy Code”) and sections 273, 274, and 276 of New York’s




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      Debtor and Creditor Law, codifying New York’s Uniform Voidable Transactions Act

      (“NYUVTA”).

             Thirty-seven motions (the “Joint Motions”) have been filed by defendants (the “Joint

      Defendants”)1 pursuant to the Order Further Amending Avoidance Action Procedures Order and

      Scheduling Joint Briefing of Motions to Dismiss and Motions for Judgment on the Pleadings (the

      “Joint Briefing Order”). (Main Case ECF No. 3577.)2 The Joint Defendants requested and

      proposed this omnibus process and prepared and submitted common legal issues they requested

      the Court address. (See Main Case ECF No. 3511.) The Trustee did not object to the Joint

      Defendants’ request. In issuing the Joint Briefing Order, the Court adopted the Joint Defendants’

      process.

             Additional motions (the “Non-Joint Motions”) have been filed by defendants3 who,

      although they did not participate in the joint briefing, raised some or all the issues raised by the

      Joint Defendants and requested to have their motions be heard at the same time as the Joint

      Motions. Because it raised some of the issues in the Joint Briefing Order, Zeisler & Zeisler, P.C.

      (“Z&Z”, and, together with the filers of the Non-Joint Motions, the “Non-Joint Defendants”) also

      requested its objection to a motion for judgment on the pleadings filed by the Trustee (the “Z&Z

      Objection”)4 be heard at the same time as the Joint Motions.




      1
        Due to the complexities of this omnibus proceeding, certain information that might appear in
      footnotes is contained in Appendices. The .pdf file of this decision contains bookmarks to
      facilitate access to the Appendices. A list of the Joint Motions, with a notation of the Joint
      Defendant that filed each Joint Motion, appears in Appendix A.
      2
        References to the docket in the main case, In re Kwok, Case No. 22-50073 (JAM), will be
      styled “Main Case ECF No. __.”
      3
        A list of the Non-Joint Motions, with a notation of the defendant(s) that filed each Non-Joint
      Motion, appears in Appendix B.
      4
        The citation for Z&Z’s objection appears in Appendix C.
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              This memorandum of decision sets forth the Court’s conclusions of law on the four issues

      set forth in the Joint Briefing Order. Fed. R. Bankr. P. 7052. Because (i) the issues of law raised

      are not dispositive of the sufficiency of the pleadings; (ii) the defendants do not prevail on the

      issues of law; and (iii) many of the issues raised are issues of fact, not law, the Joint Motions are

      DENIED. For these same reasons, the Non-Joint Motions are DENIED IN PART as to the

      issues set forth in the Joint Briefing Order and the Z&Z Objection is OVERRULED IN PART

      to the same extent.

      II.     BACKGROUND

              On February 15, 2022, the Individual Debtor filed a voluntary Chapter 11 petition in this

      Court. (Main Case ECF No. 1.) On June 15, 2022, presented with allegations related to the

      Individual Debtor’s financial mismanagement and alleged shell game, the Court entered a

      memorandum of decision and order appointing a Chapter 11 trustee to administer the Individual

      Debtor’s bankruptcy estate. (Main Case ECF No. 465.) In re Kwok, 640 B.R. 514 (Bankr. D.

      Conn. 2022). On July 8, 2022, Mr. Despins was appointed as the Trustee. (Main Case ECF No.

      523.)

                                   The Avoidance Action Procedures Order

              On January 29, 2024, the Trustee filed a motion to prospectively establish procedures for

      avoidance actions he intended to commence and in which he would bring claims only under

      sections 544, 547, 548, 549, and 550 of the Bankruptcy Code. (Main Case ECF No. 2532.) The

      Trustee anticipated filing hundreds of avoidance actions in advance of the second anniversary of

      the petition date and also anticipated these filings would pose case management issues. See 11

      U.S.C. §§ 108, 546, 549. After a hearing held on February 5, 2024, the Court entered an order

      granting the motion (as amended and supplemented, the “Avoidance Action Procedures Order”).



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      (Main Case ECF No. 2578.) Between February 9, 2024, and February 15, 2024, the Trustee filed

      268 avoidance actions, including the actions that are the subject of this decision. (Main Case

      ECF Nos. 2594–925.) The complaints each assert at least one or more among the following six

      causes of action (as asserted, collectively the “Avoidance Claims”)5:

                 (i) pursuant to 11 U.S.C. §§ 548(a)(1)(A) and 550(a), avoidance of an actual
             fraudulent transfer by the Individual Debtor of an interest of the Individual Debtor in
             property and recovery from the initial transferee;

                 (ii) pursuant to 11 U.S.C. §§ 544(b) and 550(a) and N.Y. DEBT. & CRED. §§
             273(a)(1), 274, and 2766, avoidance of an actual fraudulent transfer by the Individual
             Debtor of an interest of the Individual Debtor in property and recovery from the initial
             transferee;

                (iii) pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550(a), avoidance of a constructive
             fraudulent transfer by the Individual Debtor of an interest of the Individual Debtor in
             property and recovery from the initial transferee;

                (iv) pursuant to 11 U.S.C. §§ 544(b) and 550(a) and N.Y. DEBT. & CRED. §§
             273(a)(2), 274, and 276, avoidance of a constructive fraudulent transfer by the Individual
             Debtor of an interest of the Individual Debtor in property and recovery from the initial
             transferee;

                 (v) pursuant to 11 U.S.C. §§ 549 and 550(a), avoidance of an unauthorized post-
             petition transfer by the Individual Debtor of property of the Individual Debtor’s
             bankruptcy estate and recovery from the initial transferee; and

                (vi) pursuant to 11 U.S.C. § 550(a) and in connection with one of the above causes of
             action, recovery of an avoided transfer from a subsequent transferee.

      (See, e.g., Complaint, Despins v. Amazon.com, Inc. (In re Kwok), Case No. 22-50073 (JAM),

      Adv. P. No. 24-05057 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.)

             Each complaint alleges at least (a) an actual fraudulent transfer under both federal and

      state law; or (b) an unauthorized post-petition transfer. (See, e.g., Complaint, Despins v. Agora


      5
        A schedule setting forth the causes of action in each complaint at issue appears in Appendix
      D. The text of the statutory provisions pursuant to which the Avoidance Claims appears in
      Appendix E alongside certain relevant statutory definitions.
      6
        In the relevant complaints, the Trustee alleges the Individual Debtor conducted business in
      New York, including in relation to the alleged fraudulent transfers.
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      Lab, Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05005 (JAM) (Bankr. D.

      Conn. Feb. 9, 2024), ECF No. 1.) In addition to alleging an actual fraudulent transfer, some

      complaints allege a constructive fraudulent transfer under both federal and state law. (See, e.g.,

      Complaint, Despins v. Mitchell (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05110

      (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.) Finally, one of the complaints seeks

      recovery from a Non-Joint Defendant as a subsequent transferee of a fraudulent transfer or an

      unauthorized post-petition transfer. (Complaint, Despins v. Lawall & Mitchell, LLC (In re

      Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05199 (JAM) (Bankr. D. Conn. Feb. 13,

      2024), ECF No. 1.)

             All the complaints allege the Individual Debtor, through various alter egos, transferred

      property and those transfers were either fraudulent transfers or unauthorized post-petition

      transfers. (See, e.g., Complaint, Despins v. Marcum LLP (In re Kwok), Case No. 22-50073

      (JAM), Adv. P. No. 24-05229 (JAM) (Bankr. D. Conn. Feb. 14, 2024), ECF No. 1; Complaint,

      Despins v. Zeisler & Zeisler, P.C. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-

      05208 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1; Complaint, Despins v. FFP (BVI)

      Ltd. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05056 (JAM) (Bankr. D. Conn.

      Feb. 10, 2024), ECF No. 1.) Additional allegations regarding the Individual Debtor’s dominion

      and control over the alter egos are made through incorporation of complaints filed against

      alleged alter egos seeking declaratory judgment of alter ego and/or beneficial ownership and

      turnover of assets and control.7



      7
        The Avoidance Claims are stayed as to allegations involving certain alleged alter egos.
      (Avoidance Action Procedures Order ¶¶ 2(e)(i), (ii), Main Case ECF No. 3163.) Accordingly,
      the Court has not considered any Stayed or Partially Stayed Avoidance Claims (used herein as
      defined by Avoidance Action Procedures Order ¶¶ 2(e)(i) and (ii)), to the extent such Avoidance
      Claims are stayed. Appendix D, infra, includes notations indicating whether an Avoidance
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             On February 27, 2024, a Status Conference was held to address the management of the

      myriad avoidance actions. During the Status Conference, the Trustee requested the

      implementation of mandatory mediation procedures. On May 2, 2024, after several pleadings

      were filed and hearings were held, an order entered amending the Avoidance Action Procedures

      Order to include mandatory mediation. (Main Case ECF No. 3163.)

                                           The Joint Briefing Order

             Two features of the mediation procedures are particularly relevant to the Joint Motions,

      the Non-Joint Motions, and the Z&Z Objection. First, certain defendants are automatically

      excluded from mandatory mediation (Avoidance Action Procedures Order ¶ 2(j)(vi), Main Case

      ECF No. 3163) and defendants subject to mediation may move to be excluded from mediation

      (Id. ¶ 2(m)). Second, the mediation procedures include a litigation stay. (Id. ¶ 2(j)(iii).)

      Together, these features create the procedural context for the Joint Briefing Order.

             As early as April 22, 2024, avoidance action defendants not subject to the mediation stay

      began filing motions to dismiss. (See, e.g., Motion to Dismiss Adversary Proceeding, Despins v.

      Weddle Law PLLC (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05188 (JAM)

      (Bankr. D. Conn. April 22, 2024), ECF No. 11.) As these motions were being set for hearing, on

      September 6, 2024, certain avoidance action defendants subject to the mediation stay – the

      original Joint Defendants8 – requested the Court establish a process for the Joint Defendants to



      Claim is a Stayed or Partially Stayed Avoidance Claim. Litigation is not stayed as to the seven
      alleged alter egos who are discussed below. A schedule of these alter egos, listing the
      incorporated complaint, the allegation regarding state of formation, and causes of action, appears
      in Appendix F.
      8
        All these defendants remain Joint Defendants other than Bering Yachts, LLC (compare Main
      Case ECF No. 3511 with Main Case ECF No. 3713) and McManimon, Scotland & Baumann,
      LLC (see Letter, Despins v. McManimon, Scotland & Baumann LLC (In re Kwok), Case No. 22-
      50073 (JAM), Adv. P. No. 24-05194 (JAM) (Bankr. D. Conn. Jan. 13, 2025), ECF No. 22
      (announcing settlement with the Trustee)).
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      argue issues raised by the other avoidance action defendants’ motions rather than requiring them

      to seek to be excluded from mediation. (Main Case ECF No. 3511.)

             On September 24, 2024, a Status Conference was held. During the Status Conference,

      the Joint Defendants circulated their proposal for an amendment to the Avoidance Action

      Procedures Order and a joint briefing process. The Trustee did not oppose the Joint Defendants’

      proposal. Certain defendants not subject to the mediation stay did not oppose the hearings on

      their motions to dismiss being continued until a hearing on the prospective Joint Motions was

      held, but raised due process concerns should their motions be heard after the Joint Motions. At

      the end of the Status Conference, the Court took the matter under consideration.

             On September 25, 2024, for the reasons set forth therein, the Court entered the Joint

      Briefing Order. (Main Case ECF No. 3577.) In pertinent part, the Joint Briefing Order provides

      the Joint Defendants shall collectively file a brief addressing only four issues the Joint

      Defendants argued were common legal issues. Those four issues, which were adopted almost

      verbatim from the Joint Defendants’ proposal, are:

                  (i) whether the Trustee can avoid an initial transfer by a non-debtor entity;

                 (ii) whether applicable law allows for reverse veil piercing or alter ego
             determinations;

                (iii) the effect under applicable law of a reverse veil piercing or alter ego
             determination; and

                 (iv) whether a determination of reverse veil piercing or alter ego may be applied
             retroactively.

      (Joint Briefing Order ¶ 2(b)(i)–(iv), Main Case ECF No. 3577.) Under the Joint Briefing Order,

      (1) to the extent such Avoidance Claims are stayed, the Joint Motions shall not address Stayed or

      Partially Stayed Avoidance Claims, as those terms are defined in paragraphs 2(e)(i) and (ii) of

      the Avoidance Action Procedures Order; and (2) the Joint Defendants reserve for future

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      pleadings all bases for a motion to dismiss or motion for judgment on the pleadings other than

      the four issues. (Id. ¶¶ 4, 5.)

              The Joint Briefing Order also provided time for other avoidance action defendants to join

      the Joint Defendants. Several did, including some not subject to the mediation stay. (Main Case

      ECF Nos. 3588, 3591, 3605, 3608, 3615, 3617, 3618, 3623, 3624, 3626, 3627, 3629.) On

      October 18, 2024, the Joint Defendants filed their joint memorandum of law (the “Joint Brief”)

      and the Joint Motions. (Main Case ECF No. 3713.) On November 8, 2024, the Trustee filed an

      opposition to the Joint Brief. (Main Case ECF No. 3803.) On November 22, 2024, the Joint

      Defendants filed a reply in support of the Joint Brief. (Main Case ECF No. 3848.) The Joint

      Motions are fully briefed. The Non-Joint Motions and the Trustee’s motion for judgment on the

      pleadings against Z&Z are also fully briefed.9

              On January 8, 2025, a Status Conference was held regarding the format of the hearing on

      the Joint Motions, the Non-Joint Motions, and the Z&Z Objection. During the Status

      Conference, the Court, in consultation with the parties, established the format for the hearing.

      The Court also noted certain defendants did not raise any of the Joint Brief issues in their

      motions to dismiss. The parties agreed that the hearing on those defendants’ motions should not

      be held at the same time. Accordingly, the Court adjourned without date the hearings on those

      motions.10 (Despins v. Harcus Parker Ltd. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No.

      24-05163 (JAM) (Bankr. D. Conn. Jan. 14, 2025), ECF No. 32; Despins v. Miller (In re Kwok),

      Case No. 22-50073, Adv. P. No. 24-05219 (JAM) (Bankr. D. Conn. Jan. 14, 2025), ECF No. 29.)



      9
         A schedule of the briefing of the Non-Joint Motions and the Trustee’s motion for judgment on
      the pleadings against Z&Z appears in Appendix G.
      10
          Although Mr. Jason Miller joined the Joint Brief, by a motion for judgment on the pleadings
      filed on October 18, 2024, see Appendix A, infra, and was heard with respect to that motion, he
      was not heard on his previous, non-joint motion to dismiss filed on June 26, 2024.
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             Despite raising some or all the common issues, other defendants were unsure whether

      they wanted to be heard at the same time as the Joint Defendants. After the Status Conference,

      these defendants indicated they did not wish their motions to be heard at the same time.

      Accordingly, the Court also adjourned without date the hearings on their motions. (Despins v.

      Apple Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05060 (JAM) (Bankr. D.

      Conn. Jan. 14, 2025), ECF No. 67; Despins v. Meta Platforms Inc. (In re Kwok), Case No. 22-

      50073 (JAM), Adv. P. No. 24-05117 (JAM) (Bankr. D. Conn. Jan. 14, 2025), ECF No. 42.)

             On January 15, 2025, a hearing was held on the Joint Motions, the Non-Joint Motions,

      and the Z&Z Objection. This matter is ripe for decision.

      III.   JURISDICTION

             The United States District Court for the District of Connecticut has jurisdiction over this

      matter pursuant to 28 U.S.C. § 1334(b). This Court has authority to hear and determine this

      matter pursuant to 28 U.S.C. § 157(a) and the Order of Reference of the United States District

      Court for the District of Connecticut dated September 21, 1984. The instant proceedings are

      statutorily core proceedings. 28 U.S.C. §§ 157(b)(2)(A), (E), (H), (O). The Court concludes its

      exercise of jurisdiction is not precluded by Article III of the Constitution. Cf. Stern v. Marshall,

      564 U.S. 462, 487–99 (2011).

             Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

      IV.    DISCUSSION

             A.      Legal Standard

             The Joint Motions, Non-Joint Motions, and Z&Z Objection assert the Trustee has failed

      to state a claim upon which relief can be granted. See Fed. R. Civ. P. 12(b)(6), (c), made

      applicable by Fed. R. Bankr. P. 7012(b); see also Lively v. Wafra Inv. Advisory Grp., Inc., 6



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      F.4th 293, 302 (2d Cir. 2021) (motions for judgment on the pleadings are subject to the same

      standard as a motion to dismiss). In determining whether the Avoidance Claims state a claim

      upon which relief may be granted, the Court must take the well-pled allegations, including those

      in documents attached to the complaint, as true. See Hughes v. Rowe, 449 U.S. 5, 10 (1980);

      Bryant v. N.Y. State Educ. Dep’t, 692 F.3d 202, 208 (2d Cir. 2012); Chambers v. Time Warner,

      Inc., 282 F.3d 147, 152–53 (2d Cir. 2002); Tatum v. Oberg, 650 F. Supp. 2d 185, 189 (D. Conn.

      2009). The Court must draw all reasonable inferences in the Trustee’s favor. Warren v. Colvin,

      744 F.3d 841, 843 (2d Cir. 2014).

             To be well-pled, the Avoidance Claims must contain “a short and plain statement

      showing the pleader is entitled to relief”. Fed. R. Civ. P. 8(a), made applicable by Fed. R.

      Bankr. P. 7008. They must contain “sufficient factual matter, accepted as true, to ‘state a claim

      to relief that is plausible on its face’”. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

      Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The “plausibility standard”, while not a

      “probability requirement”, requires more than a “sheer possibility that a defendant has acted

      unlawfully.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). Determining the

      plausibility of a claim is “a context-specific task that requires the reviewing court to draw on its

      judicial experience and common sense.” Iqbal, 556 U.S. at 679. Nevertheless, “[t]hreadbare

      recitals of the elements of a cause of action, supported by mere conclusory statements, do not

      suffice.” Id. at 678.

             In determining the sufficiency of the Avoidance Claims, the Court must also consider

      documents incorporated into the complaints by reference and matters of which it may take

      judicial notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Here, as

      noted above, the Trustee has incorporated by reference his complaints against (1) Golden Spring



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      (New York) Limited (“Golden Spring”); (2) Lamp Capital LLC (“Lamp Capital”); (3) HCHK

      Technologies, Inc. (“HCHK Tech”); (4) HCHK Property Management, Inc (“HCHK Property”);

      (5) Lexington Property and Staffing, Inc. (“Lexington”, and, together with HCHK Tech and

      HCHK Property, each, an “HCHK Entity” and, collectively, the “HCHK Entities”); (6)

      Greenwich Land, LLC (“Greenwich Land”); and (7) Leading Shine NY Ltd. (“Leading Shine”).

      These complaints allege, under Delaware law, (i) the foregoing entities are the alter egos of the

      Individual Debtor; and (ii) they and/or their assets are beneficially owned by the Individual

      Debtor.11 None of the elements of these claims need to be pled with particularity. See Fletcher

      v. Atex, Inc., 68 F.3d 1451, 1457 (2d Cir. 1995) (applying Delaware law and holding there is no

      requirement to show fraud to establish alter ego).

             B.      Joint Motions

             The Court will first consider the Joint Defendants’12 arguments on the four issues:

                  (i) whether the Trustee can avoid an initial transfer by a non-debtor entity;

                 (ii) whether applicable law allows for reverse veil piercing or alter ego
             determinations;

                (iii) the effect under applicable law of a reverse veil piercing or alter ego
             determination; and




      11
         Each of the seven alter egos at issue were allegedly formed in Delaware. See Appendix F,
      infra. Taking these allegations as true, Delaware law applies to the Trustee’s alter ego and
      beneficial ownership claims. Geron v. Seyfarth Shaw LLP (In re Thelen LLP), 736 F.3d 213,
      219 (2d Cir. 2013) (forum state choice of law applies); see Weber v. U.S. Sterling Secs., Inc., 924
      A.2d 816, 822–23 (Conn. 2007) (applying local law of state of formation to alter ego action and
      other internal affairs regarding an LLC); RESTATEMENT (SECOND) OF CONFLICT OF LAWS §§ 6,
      303, 304. To be clear, “Delaware courts use the terms ‘piercing the corporate veil’ and ‘alter
      ego’ theory interchangeably.” Harrison v. Soroof Int’l, Inc., 320 F. Supp. 3d 602, 609 n. 4 (D.
      Del. 2018).
      12
         Regardless of usage of “Joint Defendant” or “Non-Joint Defendant”, the determinations in
      sections B and C of the Discussion apply to all defendants that raise or join in the arguments
      addressed.
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                 (iv) whether a determination of reverse veil piercing or alter ego may be applied
             retroactively.

      During the hearing, the Joint Defendants divided the four issues into two arguments. Regarding

      issues (i) and (iii), the Joint Defendants argue even if the Court were to hold certain entities are

      the Individual Debtor’s alter egos, the Court must dismiss the complaints because an alter ego

      finding does not give the Trustee standing to sue on the alter ego’s transfers of its property. As

      to issues (ii) and (iv), the Joint Defendants raise a series of arguments that alter ego

      determinations are improper under applicable state law or must be circumscribed in the

      bankruptcy context because of prejudice to the alter egos’ transferees. The Court will address

      these arguments in turn.

                 1.      Issues (i) and (iii): The effect of an alter ego determination in avoidable
                         transfer actions

             The Joint Defendants argue the effect of an alter ego determination under Delaware law

      would result only in the alter egos being vicariously liable for debts of the Individual Debtor.

      Such a determination, they argue, would not (i) accomplish the transfer of the alter egos’ assets

      into the Individual Debtor’s bankruptcy estate and allow the Trustee to assert an unauthorized

      post-petition transfer claim; or (ii) collapse the identity of the Individual Debtor and the alter

      egos to allow the Trustee to assert that an alter ego’s transfer of its property is a fraudulent

      transfer by the Individual Debtor of his property. On these bases, the Joint Defendants argue the

      Trustee lacks standing to bring the Avoidance Claims even assuming he prevails on his alter ego

      claims. Ultimately, the Joint Defendants assert the Trustee’s only recovery is from the alter egos

      themselves.

             In response, the Trustee makes two arguments. First, the Trustee argues that while an

      alter ego determination is made under applicable state law, the effect of an alter ego



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      determination is a matter of federal law. In particular, the Trustee asserts section 541 of the

      Bankruptcy Code controls whether an interest that exists at state law is property of the estate.

      Second, the Trustee argues even if state law controls the effect of an alter ego determination,

      Delaware law follows an identity theory of alter ego. Therefore, the Trustee argues an alter ego

      determination provides him with a basis to assert fraudulent transfer and unauthorized post-

      petition transfer claims. The Trustee contends that if the Court agrees with the Joint Defendants,

      the result will be to ignore the Individual Debtor’s misconduct and inequitable dealings by

      cutting off the estate’s recovery.

             As discussed in greater detail below, the Court agrees with the Trustee. As a threshold

      matter, the Joint Defendants’ argument focuses solely on the Avoidance Claims’ alter ego

      allegations and fails to address the overlapping and alternative beneficial ownership allegations.

      The Avoidance Claims assert the Individual Debtor’s beneficial ownership of the alter egos and

      their assets as a basis for the relief requested. See 11 U.S.C. §§ 101(54); 541; Begier v. Internal

      Revenue Serv., 496 U.S. 53, 59 (1990); Orr v. Kinderhill Corp., 991 F.2d 31, 35 (2d Cir. 1993).

      Moreover, the substantive avoidable transfer law upon which the Avoidance Claims are pled

      controls the effect of an alter ego determination. Avoidable transfer law values substance over

      form and is, hence, amenable to piercing the corporate veil where applicable law would disregard

      the corporate form. See 11 U.S.C. §§ 101(54); 541; Begier, 496 U.S. at 59; United States v.

      Whiting Pools, 462 U.S. 198, 204–05 (1983); Butner v. United States, 440 U.S. 48, 54–57

      (1979); Stadtmauer v. Tulis (In re Nordlicht), 115 F.4th 90, 104–06 (2d Cir. 2024); Orr, 991

      F.2d at 35; McNellis v. Raymond, 420 F.2d 51, 53 (2d Cir. 1970); ASARCO LLC v. Ams. Mining

      Corp., 382 B.R. 49, 66–68 (S.D. Tex. 2007).




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                         i.     Issues (i) and (iii): Beneficial ownership alleged in connection with
                                the transfers

             The Joint Defendants argue the Trustee improperly uses Delaware alter ego law to satisfy

      two elements of the Avoidance Claims by collapsing the distinctions between (a) the alleged

      alter ego transferor and the Individual Debtor13; and (b) the alter ego transferor’s property and

      the Individual Debtor’s property14 and/or the estate’s property15. However, as noted, the Trustee

      also alleges the Individual Debtor beneficially owns the alter egos and/or their assets. The Court

      cannot ignore the Trustee’s allegations.

                                a.      Beneficial ownership allegations are relevant to issue (i):
                                        whether Trustee alleges an initial transfer by a non-debtor
                                        entity or by the Individual Debtor

             Regarding the first element, to plead actual fraudulent transfer or one sort of constructive

      fraudulent transfer under the Bankruptcy Code, the Trustee must plead the Individual Debtor

      made the transfer. 11 U.S.C. §§ 548(a)(1)(A), (B)(ii)(IV). Likewise, with respect to his

      NYUVTA claims, the Trustee must plead that the Individual Debtor or some other party liable

      on his debt made the transfer. N.Y. DEBT. & CRED. § 270(f). However, an unauthorized post-

      petition transfer and the other types of constructive fraudulent transfers under the Bankruptcy

      Code do not require the Individual Debtor to have made the transfer. 11 U.S.C. §§

      548(a)(1)(B)(ii)(I)–(III) (no requirement that the debtor made the transfer), 549(a) (same).

             Under the Bankruptcy Code, “transfers” include, in pertinent part, “each mode, direct or

      indirect, absolute or conditional, voluntary or involuntary, of disposing of or parting with—(i)

      property; or (ii) an interest in property.” 11 U.S.C. § 101(54)(D). Similarly, transfers under


      13
         See 11 U.S.C. §§ 548(a)(1)(A), 548(a)(1)(B)(ii)(IV); N.Y. DEBT. & CRED. §§ 273(a)(1)–(2),
      274(a)–(b).
      14
         See 11 U.S.C. §§ 544(b), 548(a)(1); N.Y. DEBT. & CRED. §§ 270(b), (p), 273(a)(1)–(2),
      274(a)–(b).
      15
         See 11 U.S.C. § 549(a).
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      NYUVTA include, in pertinent part, “every mode, direct or indirect, absolute or conditional,

      voluntary or involuntary, of disposing of or parting with an asset or an interest in an asset”. N.Y.

      DEBT. & CRED. § 270(p).

             In keeping with the inclusion of “indirect” conveyances in the definition of transfer in

      both the Bankruptcy Code and NYUVTA, courts look to the substance, not the form, of a

      transfer. Orr, 991 F.2d at 35 (“In equity, ‘substance will not give way to form, [and] technical

      considerations will not prevent substantial justice from being done.’ Thus, an allegedly

      fraudulent conveyance must be evaluated in context; ‘[w]here a transfer is only a step in a

      general plan, the plan “must be viewed as a whole with all its composite implications.”’”)

      (internal citations omitted; other alterations in original); see 5 COLLIER ON BANKRUPTCY ¶

      548.03[6] (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2025) (collecting cases). Courts

      must look at the “economic reality” of the transaction. Orr, 991 F.2d at 36 (citing Salomon Inc.

      v. United States, 976 F.2d 837, 842 (2d Cir. 1992)). Courts may, on appropriate facts, disregard

      corporate separateness in analyzing the economic reality of a transaction. McNellis, 420 F.2d at

      53 (in an action under the former Bankruptcy Act of 1898, as amended, affirming district court

      ruling insofar as it pierced the corporate veil to determine that principal received consideration –

      the loan to his company – for his personal payments to the lender and, hence, ruled the

      transaction was not a fraudulent conveyance); see Cohen v. de la Cruz, 523 U.S. 213, 221 (1998)

      (holding law under the former Bankruptcy Act of 1898, as amended, is not displaced unless there

      is a clear indication Congress intended to do so).




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              The Joint Defendants interpret the Avoidance Claims as alleging the following series of

      transfers:16

                     A(Individual Debtor) = B(Alter ego)                           C(Joint Defendant)
                            (Alter ego determination)      (Transfer of B’s property)

      Accepting the Joint Defendants’ interpretation, the Trustee is wholly relying on an identity

      between the Individual Debtor and the alter egos to allege the Individual Debtor made the

      transfers. The Joint Defendants dispute this identity and argue the Trustee does not have

      standing to avoid the remaining transfer, BÆC.

              However, the Court must assess the transfers as they are alleged. See Merit Mgmt. Grp.,

      LP v. FTI Consulting, Inc., 583 U.S. 366, 382 (2018). Contrary to the Joint Defendants’

      interpretation of the complaints, the Trustee alleges the Individual Debtor made the transfers

      “using” the alter egos:

                             A(Individual Debtor)                         C(Joint Defendant)
                                       (Transfer of A’s property through alter ego B)

      The Trustee is not relying solely on an identity between the Individual Debtor and the alter egos

      – he is alleging the alter egos are an instrument of the transfers.

              For example, in the complaint against, among others, Amazon.com, Inc. (“Amazon”), a

      Joint Defendant, the Trustee alleges:

                                44.   Prior to the Petition Date, the [Individual] Debtor, using his alter
                        ego shell companies Greenwich Land, G Club17, Lexington, HCHK Technologies,
                        and Golden Spring, or otherwise, transferred the [Individual] Debtor’s property to
                        Amazon (collectively, the “Prepetition Transfers”), including, without limitation,
                        as follows:

                                See SCHEDULE A attached hereto and made a part hereof.

      16
        The diagrams below are reproduced in Appendix H.
      17
        The Avoidance Claims in this complaint are stayed with respect to transfers involving G Club
      Operations LLC. Thus, the Court will only discuss Golden Spring, HCHK Tech, Lexington, and
      Greenwich Land herein.
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                             45.    Subsequent to the Petition Date, the [Individual] Debtor, through
                     his shell companies, Greenwich Land, G Club, Lexington, and Golden Spring, or
                     otherwise, transferred property of the estate to Amazon (collectively, the
                     “Postpetition Transfers”), including, without limitation, as follows:

                             See SCHEDULE B attached hereto and made a part hereof.

      (Complaint ¶¶ 44–45, Despins v. Amazon.com, Inc. (In re Kwok), Case No. 22-50073 (JAM),

      Adv. P. No. 24-05057 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.) The Trustee alleges

      the transfers were part of the Individual Debtor’s “shell game” involving “(i) [Individual]

      Debtor-controlled shell companies held by close family members and/or subordinates, (ii) assets

      purchased with cash from other [Individual] Debtor-controlled entities and/or transferred to and

      among shell entities for no consideration, and (iii) the [Individual] Debtor benefitting from and

      having control and dominion over such assets”, (id. ¶ 22), with the purpose of the shell game

      being “to conceal and dissipate millions of dollars in assets while falsely pleading poverty to his

      many creditors”, (id. ¶ 37). (See id. ¶¶ 20–43.) All the other complaints make the same

      allegations about the Individual Debtor’s financial affairs.

             In support of these arguments, the complaint against Amazon incorporates the alter ego

      complaints against Golden Spring, HCHK Tech, Lexington, and Greenwich Land. (Id. ¶ 20 n.

      4.) The alter ego complaints seek declaratory judgments of alter ego and beneficial ownership

      and, on the bases of these declaratory judgments, turnover of property of the estate. For

      example, the complaint against Golden Spring alleges

             Golden Spring is the alter ego of the [Individual] Debtor and the [Individual] Debtor is
             the equitable owner of Golden Spring and/or its assets.

      (Complaint ¶ 2, Despins v. Golden Spring (N.Y.) Ltd. (In re Kwok), Case No. 22-50073 (JAM),

      Adv. P. No. 23-05018 (JAM) (Bankr. D. Conn. July 25, 2023), ECF No. 1).




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             The complaint against Golden Spring alleges numerous facts about, inter alia, the

      Individual Debtor’s control over Golden Spring’s formation, funding, management, and

      operations as well as his use of Golden Spring as a shell company to hide assets, pay expenses,

      and, generally, serve his interests. (Id. ¶¶ 13–38.) Extensive exhibits are attached to the

      complaint in support of these allegations. The other alter ego complaints make similar

      allegations relating to the Individual Debtor’s dominion and control over the alleged alter egos,

      his benefit from and use of their assets and/or services, and his use of their corporate form to

      shield assets from his creditors.

             The Trustee’s allegations connect the Individual Debtor to the nominal transferors

      through two overlapping legal theories: (i) alter ego, the focus of the Joint Defendants’

      argument; and (ii) beneficial ownership, which the Joint Defendants do not address. However,

      the Trustee’s beneficial ownership allegations are relevant to whether the Trustee has plausibly

      pled the Individual Debtor made the transfers. Assuming the Trustee has plausibly alleged the

      Individual Debtor beneficially owns the alter egos18, he has plausibly pled the alter egos are

      affiliates of the Individual Debtor, through which the Individual Debtor could indirectly transfer

      assets. 11 U.S.C. §§ 101(2), (15), (41); N.Y. DEBT. & CRED. § 270(a). In fact, courts have

      collapsed transactions involving affiliates. See, e.g., Voest-Alpine Trading USA Corp. v.

      Vantage Steel Corp., 919 F.2d 206, 208–210, 212–13 (3d Cir. 1990) (affirming district court

      where fraudulent transfer involved owners laundering the assets of one company they owned to

      another as part of an overall scheme to make assets unavailable to creditors); accord 11 U.S.C. §

      101(54)(D) (transfers include indirect transfers); N.Y. DEBT. & CRED. § 270(p) (same).




      18
        The Court does not reach the issue of whether the Trustee has plausibly pled the Individual
      Debtor’s beneficial ownership of the alter egos because that is not among the four issues.
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      Therefore, the Court finds the parties’ argument regarding the effect of alter ego is not

      dispositive of the sufficiency of the Trustee’s pleading the Individual Debtor is the transferor.

                                 b.      Beneficial ownership allegations may render
                                         inconsequential issue (iii): the effect under applicable law of
                                         a reverse veil piercing or alter ego determination

             Turning to the second element at issue, Bankruptcy Code section 548 actual or

      constructive fraudulent transfer claims must plead a transfer of “an interest of the debtor in

      property”. 11 U.S.C. § 548(a)(1). Similarly, the Bankruptcy Code provides the Trustee standing

      to bring avoidance actions an actual creditor could bring under other applicable state or federal

      law to avoid transfers of “an interest of the debtor in property”. 11 U.S.C. § 544(b). The

      Trustee’s New York law actual and constructive fraudulent transfer claims must additionally

      plead a transfer of “property of the debtor”, where “debtor” is the Individual Debtor or another

      party liable on his debt. N.Y. DEBT. & CRED. §§ 270(b), (f), (l), (p), 273(a)(1)–(2), 274(a)–(b).

      Finally, unauthorized post-petition transfer claims must plead a transfer of “property of the

      estate”. 11 U.S.C. § 549(a).

             An interest of the debtor in property is anything that would have been property of the

      estate but for the transfer to be avoided. Begier, 496 U.S. at 59 (“Because the purpose of the

      avoidance provision is to preserve the property includable within the bankruptcy estate—the

      property available for distribution to creditors—‘property of the debtor’ subject to the

      preferential transfer provision is best understood as that property that would have been part of

      the estate had it not been transferred before the commencement of bankruptcy proceedings.”).

      Therefore, the analysis of whether a transfer is of “an interest of the debtor in property”, 11

      U.S.C. §§ 544(b), 548(a)(1), and the analysis of whether a transfer is of “property of the estate”,

      11 U.S.C. § 549(a), both center on section 541, which defines property of the estate. Property of



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      the estate includes, in pertinent part, “wherever located and by whomever held[,] . . . all legal or

      equitable interests of the debtor in property”. 11 U.S.C. § 541(a)(1). Indeed, the Avoidance

      Claims must plead the Individual Debtor has an equitable interest in property, as opposed to

      mere legal title. Begier, 496 U.S. at 58; accord 11 U.S.C. § 541(d) (excepting from property of

      the estate property to which the debtor has only a legal interest insofar as the debtor does not

      have an equitable interest).

             As to whether a transfer is of property of a debtor under NYUVTA, New York law

      recognizes beneficial ownership in actions to collect on a debt. See, e.g., In re Gliklad v.

      Chernoi, 12 N.Y.S.3d 65 (N.Y. App. Div. 2015) (affirming order requiring judgment debtor to

      turn over beneficial ownership of a business); Guilder v. Corinth Constr. Corp., 651 N.Y.S.2d

      706 (N.Y. App. Div. 1997) (remanding case to determine whether individual defendants

      equitably owned a corporate defendant and whether the plaintiff could pierce the corporate veil

      between the corporate defendant and its potential equitable owners); Pac. All. Asia Opportunity

      Fund L.P. v. Kwok Ho Wan, Index No. 652077/2017, 2022 WL 406636 (N.Y. Sup. Ct. Feb. 9,

      2022) (determining judgment debtor beneficially owned yacht in action to collect on judgment).

      Therefore, an “interest of the debtor in property”, “property of the estate”, and “property of the

      debtor” all include the Individual Debtor’s equitable interests in property.

             The Joint Defendants argue the Trustee seeks to avoid a transfer of the alter egos’

      property:

                  A(Individual Debtor) = B(Alter ego)                           C(Joint Defendant)
                         (Alter ego determination)      (Transfer of B’s property)




                                                        20
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      The Joint Defendants interpret the complaints to be alleging an alter ego determination would

      create an interest of the Individual Debtor in the alter egos’ property.19 The Joint Defendants

      argue the Trustee is mistaken – an alter ego determination cannot create an interest in property

      that did not previously exist – and, therefore, the Trustee does not have standing to assert the

      remaining BÆC transfer of B’s property.

             Once again, however, the Court must assess the transfers as alleged. See Merit Mgmt.

      Grp., 583 U.S. at 382. In the complaints, the Trustee alleges the transfers are transfers of the

      Individual Debtor’s property and/or property of the estate – not the alter egos’ property:

                          A(Individual Debtor)                        C(Joint Defendant)
                                   (Transfer of A’s property through alter ego B)

      The Trustee is alleging the Individual Debtor always had an interest in the alter egos’ property –

      the interest is not created by an alter ego determination.

             This can be seen in the paragraphs from the complaint against Amazon cited above. But

      to use another example, in the complaint against, among others, Joint Defendant B&H Foto &

      Electronics Corp. (“B&H Foto”), the Trustee makes the following allegations:

                     43.    Prior to the Petition Date, the [Individual] Debtor, using his alter ego shell
             companies including Greenwich Land, Golden Spring, HCHK Technologies, G Club
             Operations, Rule of Law20 and Lexington Property, or otherwise, transferred the
             [Individual] Debtor’s property to B&H (collectively, the “Prepetition Transfers”),
             including, without limitation, as follows:

                     See SCHEDULE A attached hereto and made a part hereof.

                   44.     Subsequent to the Petition Date, the [Individual] Debtor, through shell
             companies including Greenwich Land, Lexington, Golden Spring, G Club Operations,


      19
          Effectively, as the Joint Defendants see it, alter ego determinations are involuntary transfers,
      see 11 U.S.C. § 101(54), and A=BÆC can also be written AÅBÆC.
      20
         The Avoidance Claims in this complaint are stayed with respect to transfers involving G Club
      Operations and Rule of Law Foundation III, Inc. Thus, the Court will only discuss Golden
      Spring, HCHK Tech, Lexington, and Greenwich Land herein.
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              and HCHK Technologies, or otherwise, transferred property of the estate to B&H
              (collectively, the “Postpetition Transfers”), including, without limitation, as follows:

                      See SCHEDULE B attached hereto and made a part hereof.

      (Complaint ¶¶ 43–44, Despins v. B&H Foto & Elecs. Corp. (In re Kwok), Case No. 22-50073

      (JAM), Adv. P. No. 24-05069 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.) The

      complaint alleges the Individual Debtor was involved in a “shell game”, whereby he hid his

      assets in alter egos – and after the petition date, the assets of the estate – to frustrate collection of

      those assets to pay his debts and avoid his duties under the Bankruptcy Code. (Id. ¶¶ 19–42.)

      These allegations are identical in form to those in all the other complaints.

              The complaints against the alleged alter egos involved in the transfers at issue are

      incorporated by reference. (Id. ¶ 19 n. 4.) All the alter ego complaints contain extensive

      allegations that the Individual Debtor used, controlled, and benefitted from the assets of the alter

      egos.21 One of those, the alter ego complaint against Golden Spring is discussed above. (See

      Complaint ¶¶ 10–38, Despins v. Golden Spring (N.Y.) Ltd. (In re Kwok), Case No. 22-50073

      (JAM), Adv. P. No. 23-05018 (JAM) (Bankr. D. Conn. July 25, 2023), ECF No. 1.) As another

      example, the complaint against the HCHK Entities makes similar allegations. (See Complaint ¶¶

      16–40, Despins v. HCHK Techs., Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 23-

      05013 (JAM) (Bankr. D. Conn. June 8, 2023), ECF No. 1.)

              A review of the complaints and the incorporated alter ego complaints makes clear the

      Trustee is not solely relying on alter ego to assert the Individual Debtor or the estate has an

      equitable interest in the transferred property. As with the first element, to the extent the Trustee



      21
         All the alter ego complaints except the complaint against Greenwich Land allege beneficial
      ownership of both the alter ego and its assets. See Appendix F, infra. The complaint against
      Greenwich Land nevertheless contains allegations about the Individual Debtor’s use and control
      of and benefit from Greenwich Land’s assets.
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      has plausibly pled the Individual Debtor’s beneficial ownership of an alter ego’s assets22, he has

      plausibly pled a transfer of his property and/or property that is or, but for the transfer, would

      have been property of the estate. Hence, the effect of an alter ego determination under Delaware

      law is also not dispositive of this element.

                         ii.     Avoidable transfer law controls issue (i): whether the Individual
                                 Debtor is the transferor; and issue (iii): whether the alter egos’
                                 property is the Individual Debtor’s property and/or property of
                                 the estate

             Notwithstanding the foregoing, the Court will discuss the parties’ arguments regarding

      the effect of alter ego and avoidable transfer actions in bankruptcy proceedings. In McNellis, the

      United States Court of Appeals for the Second Circuit affirmed the district court both in piercing

      the corporate veil with respect to a trustee’s fraudulent transfer action and in refusing to pierce

      the same corporate veil with respect to the trustee’s usury action. 420 F.2d at 53–54. The

      Second Circuit concluded, while fraudulent conveyance law allowed courts to pierce form in

      favor of substance, New York’s usury law had developed to allow individuals to use a corporate

      alter ego to take out an otherwise usurious loan. Id. That is, the Second Circuit looked to the

      substantive law governing the trustee’s causes of actions to determine whether the corporate veil

      could be pierced to establish an element or defense. Id.

             Accordingly, the Trustee is correct that the effect of an alter ego determination under

      Delaware law is not dispositive. The relevant avoidable transfer statutes – here, the Bankruptcy

      Code and NYUVTA – determine whether and to what effect corporate veils may be pierced for

      the purposes of fraudulent transfer or unauthorized post-petition transfer. McNellis, 420 F.2d at

      53–54. The standard governing veil piercing is determined by applicable choice of law rules –



      22
        The Court does not reach the issue of whether the Trustee has plausibly pled the Individual
      Debtor’s beneficial ownership of the alter egos’ assets because that is not among the four issues.
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      which may or may not be different than the law governing the overall cause of action. ASARCO,

      382 B.R. at 66–68 (denying motion to dismiss because debtor had sufficiently alleged standing to

      allege fraudulent transfer, under Delaware law, standing in shoes of its subsidiary through

      reverse veil-piercing, under Delaware law); accord Spring Real Est., LLC v. Echo/RT Holdings,

      LLC, C.A. No. 7994-VCN, 2016 WL 769586, at *3 (Del. Ch. Feb. 18, 2016) (acknowledging

      that under Delaware fraudulent transfer law, where reverse veil piercing is available under

      applicable law, a creditor of a parent may argue alter ego for the purposes of pursuing the

      fraudulent transfer of a subsidiary’s assets).

             The Joint Defendants assert the relief the Trustee seeks is novel. It is not. ASARCO, 382

      B.R. at 66–68 (applying Delaware alter ego law); see Parker v. Titan Mining (US) Corp. (In re

      Star Mountain Res., Inc.), Case No.: 2:18-bk-01594-DPC, Adversary No.: 2:19-ap-00412-DPC,

      2020 WL 6821721, at *4–6 (Bankr. D. Ariz. Sept. 30, 2020) (applying Nevada alter ego law);

      Searcy v. Knight (In re Am. Int’l Refinery), 402 B.R. 728, 743–48 (Bankr. W.D. La. 2008)

      (same); Kendall v. Turner (In re Turner), 335 B.R. 140, 145–47 (Bankr. N.D. Cal. 2005)

      (applying California alter ego law), upheld in pertinent part on reconsideration 345 B.R. 674,

      676–77 (Bankr. N.D. Cal. 2006) (upholding alter ego determination).

                                 a.      Issues (i) and (iii): State law allows avoidance of an alter
                                         ego’s transfer of its property

             Furthermore, the relief the Trustee is seeking is certainly not novel under state law.

      Under NYUVTA, actual and constructive fraudulent transfers can be established by an alter

      ego’s transfer of its property. “‘Debtor’ means a person that is liable on a claim.” N.Y. DEBT. &

      CRED. § 270(f). Therefore, even assuming alter ego only creates vicarious liability, an alter ego

      is a “debtor” even if it is not a debtor under the Bankruptcy Code. Because it is a debtor, an alter

      ego can make an avoidable transfer. See N.Y. DEBT. & CRED. §§ 273, 274. Moreover, property

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      of an alter ego is property of a debtor. N.Y. DEBT. & CRED. §§ 270(b), (l), (p). Therefore, in a

      state law action, alter ego can be used in conjunction with NYUVTA. See Bravia Cap. H.K. Ltd.

      v. SL Green Realty Corp., No. 24-cv-2296 (JGK), 2025 WL 552046, at *9 (S.D.N.Y. Feb. 18,

      2025) (applying NYUVTA and Delaware alter ego law) (citing JSC Foreign Ass’n

      Technostroyexport v. Int’l Dev. & Trade Servs., Inc., 295 F. Supp. 2d 366, 379–80 (S.D.N.Y.

      2003) (applying the Uniform Fraudulent Transfer Act (“UFTA”), predecessor of Uniform

      Voidable Transactions Act (“UVTA”)).

             This is not only the law in New York; it is the law of most if not all jurisdictions within

      the United States. See Conn. Gen. Stat. § 52-552b (6) (Connecticut has adopted UFTA which

      has same definition of “debtor” as UVTA); 5 COLLIER ON BANKRUPTCY ¶ 544.06[2] (forty-six

      states and the District of Columbia have adopted the UFTA or UVTA); see, e.g., Magliarditi v.

      TransFirst Grp., Inc., 450 P.3d 911, 2019 WL 5390470, at *4–5 (Nev. 2019) (table disposition);

      Thompson Props. v. Birmingham Hide & Tallow Co., Inc., 839 So. 2d 629, 633–34 (Ala. 2002);

      Spring Real Est., 2016 WL 769586, at *3; Dwyer v. Meramec Venture Assocs., L.L.C., 75

      S.W.3d 291, 294–95 (Mo. Ct. App. 2002); U.S. Cap. Funding VI, Ltd. v. Patterson Bankshares,

      Inc., 137 F. Supp. 3d 1340, 1367–68 (S.D. Ga. 2015). Avoidable transfer and alter ego law both

      seek to thwart judgment evasion and can, unsurprisingly, be used together in collection actions

      outside of bankruptcy.

             If the Trustee has standing under section 544(b) to bring his NYUVTA claims and has

      plausibly pled alter ego23, he has plausibly pled a debtor transferred its property.




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         The Court will discuss the plausibility of the Trustee’s alter ego allegations in section D
      below, after discussing the defendants’ arguments regarding the sufficiency of his pleading.
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                                   b.     Issues (i) and (iii): Bankruptcy law allows avoidance of an
                                          alter ego’s transfer of its property

                The Court must determine whether the normal rule applicable outside of bankruptcy also

      applies in bankruptcy. As in the beneficial ownership discussion above, two elements are at

      issue. First, it must be determined whether alter ego allegations may be used to assert the

      Individual Debtor is the transferor. The Bankruptcy Code only controls this element with respect

      to actual fraudulent transfer and one of the four types of constructive fraudulent transfer under

      the Bankruptcy Code. 11 U.S.C. §§ 548(a)(1)(A), (a)(1)(B)(ii)(IV). Section 544(b) does not

      apply this element to the Trustee’s NYUVTA claims and it is not an element of three of the four

      types of constructive fraudulent transfer or unauthorized post-petition transfer under the

      Bankruptcy Code. 11 U.S.C. §§ 544(b), 548(a)(1)(B)(ii)(I)–(III), 549(a).

                Second, it must be determined whether alter ego allegations may be used to assert the

      alter ego’s property is or would have been, but for the transfer, property of the estate. Begier,

      496 U.S. at 59. This is an element of all the Avoidance Claims, including the Trustee’s

      NYUVTA claims. As discussed above, the Trustee only has standing to bring claims under

      NYUVTA if he alleges a transfer of an interest of the Individual Debtor in property. 11 U.S.C. §

      544(b).

                  Issue (i): Does the Trustee allege an initial transfer by a non-debtor entity?

                With respect to the first element, the Court concludes alter ego can be used to establish

      the Individual Debtor was the transferor because the definition of “transfer” includes indirect

      conveyances. 11 U.S.C. § 101(54). Indeed, in McNellis, the Second Circuit affirmed the district

      court’s decision to pierce the corporate veil and to hold the individual rather than his corporation

      took out the loan he later repaid. McNellis, 420 F.2d at 53–54; see Orr, 991 F.2d at 35; Voest-




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      Alpine, 919 F.2d at 212–13. Therefore, alter ego allegations may support allegations that the

      Individual Debtor – not a non-debtor entity – is the transferor.

          Issue (iii): What is the effect under applicable law of a reverse veil piercing or alter ego
                                                determination?

             As to the second element, where the Bankruptcy Code is silent, state law determines what

      interests parties have in property. Butner, 440 U.S. at 54–57. However, Butner also holds

      Congress has authority under Article I, section 8, clause 4 of the Constitution to define property

      interests contrary to state law for the purposes of bankruptcy. Id. at 54–57 (holding it is a matter

      of state law whether, when, and how a mortgagee obtains a security interest in rents because the

      former Bankruptcy Act of 1898, as amended, did not include a provision providing or denying

      mortgagees such a security interest).

             Congress defined property of the estate. 11 U.S.C. § 541. “Congress intended a broad

      range of property to be included in the estate”, including “property in which the debtor did not

      have a possessory interest at the time the bankruptcy proceedings commenced.” Whiting Pools,

      462 U.S. at 204–05 (affirming Second Circuit determination that property of the estate included

      property seized by the Internal Revenue Service to enforce a tax lien prior to the filing of the

      bankruptcy petition). Therefore, consistent with Butner and Whiting Pools, courts have

      generally held that while state law determines what interests a debtor has in property, federal law

      determines whether those interests in property are included in property of the estate. Lowe v.

      Bowers (In re Nicole Gas Prod., Ltd.), 916 F.3d 566, 573 (6th Cir. 2019); Abboud v. Ground

      Round, Inc. (In re The Ground Round, Inc.), 482 F.3d 15, 17 (1st Cir. 2007); In re Nejberger,

      934 F.2d 1300, 1302 (3d Cir. 1991); N.S. Garrott & Sons v. Union Planters Nat’l Bank of

      Memphis (In re N.S. Garrott & Sons), 772 F.2d 462, 466 (8th Cir. 1985).




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             An alter ego claim is property of the estate. Nordlicht,115 F.4th at 104–06 (holding alter

      ego claim under New York law is property of the estate), because such claims “‘inure[] to the

      benefit of all creditors’ by enlarging the estate”, Nordlicht, 115 F.4th at 105 (alteration in

      original); see In re Emoral, Inc., 740 F.3d 875 (3d Cir. 2014) (holding that successor liability

      claims are property of the estate because, like alter ego claims, they are general claims of

      creditors). This is true even if at state law alter ego is a claim for the imposition of vicarious

      liability, not an independent cause of action. Nordlicht, 115 F.4th at 109–111. Nordlicht

      determined that

             alter-ego theories of liability neatly fall[] within the Bankruptcy Code’s definition of
             ‘claim’:

             (A)    right to payment, whether or not such right is reduced to judgment, liquidated,
             unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
             equitable, secured, or unsecured; or

             (B)     right to an equitable remedy for breach of performance if such breach gives rise
             to a right to payment, whether or not such right to an equitable remedy is reduced to
             judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
             unsecured.”

      115 F.4th at 110 (emphasis in original).

             Under Nordlicht, a trustee’s right to payment or an equitable remedy (such as turnover)

      from an alter ego is property of the estate. 115 F.4th at 105. A trustee may seek recovery from

      the alter ego to the full extent of claims asserted against the estate. See Moore v. Bay (In re Est.

      of Sassard & Kimball, Inc.), 284 U.S. 4, 5 (1931) (holding, with respect to predecessors of

      section 544(b) claims, the trustee could recover on an avoided transfer for the estate’s creditors at

      large). Property recoverable by a trustee is property of the estate. Whiting Pools, 462 U.S. at

      204–07. Moreover, under Begier, the Individual Debtor had an interest in any such property pre-

      petition. 496 U.S. at 59. Hence, if the Trustee prevails on his alter ego claims, the alter egos’



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      property is property of the estate and the Individual Debtor had an interest in that property pre-

      petition. See Nordlicht, 115 F.4th at 105 (alter ego claims “‘inure[] to the benefit of all

      creditors’ by enlarging the estate”); 718 Arch St. Assocs., Ltd. v. Blatstein (In re Blatstein), 192

      F.3d 88, 95 (3d Cir. 1999) (holding court had jurisdiction to determine appeal of a ruling on,

      among other things, creditor’s claim that certain corporations were alter egos of the debtor

      because a determination that they were his alter egos “would result in the inclusion in his

      bankruptcy estate of substantial assets which then would be available to satisfy, at least in part,

      his creditors’ claims.”); Green v. Bate Recs., Inc. (In re 10th Ave. Rec. Distribs., Inc.), 97 B.R.

      163, 166 (S.D.N.Y. 1989) (holding trustee had standing to bring alter ego claim because it was

      “an attempt to collect property of the estate for the benefit of all creditors and is not personal to

      any particular creditor”) (emphasis in original).

                                      Contrary authority is unpersuasive

             In coming to this conclusion, the Court respectfully disagrees with the decision by the

      United States Court of Appeals for the Sixth Circuit in In re Howland. 674 F. App’x 482 (6th

      Cir. 2017); accord Lippe v. Bairnco Corp., 230 B.R. 906, 914–15 (S.D.N.Y. 1999); Grimmett v.

      McCloskey (In re Wardle), BAP No. NV-05-1000-KMB, Bankruptcy No. S-01-21542-BAM,

      Adversary No. S-03-01467, 2006 WL 6811026 (B.A.P. 9th Cir. Jan. 31, 2006); Stevenson v.

      William Noble Rare Jewels L.P. (In re DuMouchelle), Case No. 19-54531, Adv. Pro. No. 21-

      04041-lsg, ___ B.R. ___, 2023 WL 8100234 (Bankr. E.D. Mich. Nov. 21, 2023) (applying

      Howland); Evangelista v. Silver (In re Silver), 647 B.R. 897 (Bankr. E.D. Mich. 2022) (same).

      In Howland, the Sixth Circuit held property of an alter ego is not property of the estate and

      cannot be recovered where, at state law, alter ego merely imposes vicarious liability. 674 F.




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      App’x at 487. Lippe and Wardle held the same. DuMouchelle and Silver, decisions from courts

      within the sixth circuit, applied Howland.

             In addition to the statutory analysis above, the Court respectfully disagrees with Howland

      for several reasons. First, courts “do not read the Bankruptcy Code to erode past bankruptcy

      practice absent a clear indication that Congress intended such a departure”. Cohen, 523 U.S. at

      221. In interpreting the Code, courts presume Congress’s “familiarity with the prevailing

      understanding” of the former Bankruptcy Act of 1898. Johnson v. Home State Bank, 501 U.S.

      78, 86 (1991). There is no clear indication that Congress intended to overrule McNellis.

      Compare 11 U.S.C. §§ 101(54), 541(a), 544(b), 548(a), 549(a) with 11 U.S.C. §§ 1(30) (former

      Bankruptcy Act of 1898, section 1) (repealed 1978), 107(d) (former Bankruptcy Act of 1898,

      section 67) (repealed 1978), 110(a), (d), (e) (former Bankruptcy Act of 1898, section 70)

      (repealed 1978). McNellis – which upheld the use of alter ego to prove a defense to a trustee’s

      fraudulent transfer action brought under federal bankruptcy law and New York law – is binding

      on this Court. 420 F.2d at 53–54.

             Second, the Sixth Circuit’s approach to alter ego claims in avoidance actions is contrary

      to the Second Circuit’s directive that courts must consider the substance, rather than the form, of

      a fraudulent transfer. See Orr, 991 F.2d at 35; see also Boyer v. Crown Stock Dist., Inc., 587

      F.3d 787, 792 (7th Cir. 2009); Voest-Alpine, 919 F.2d at 211–12. There is capacity in fraudulent

      transfer law to look past the nominal parties to a transaction where state law allows the corporate

      form to be disregarded. McNellis, 420 F.2d at 53; ASARCO, 382 B.R. at 65–68. This capacity to

      recognize the economic reality is reflected in the expansive definitions of transfer and property

      of the estate in the Bankruptcy Code. 11 U.S.C. §§ 101(54)(D), 541.




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             Third, Howland is contrary to how alter ego and avoidance claims interact under state

      law. As outlined above, alter ego can be used in NYUVTA claims outside of bankruptcy to

      target transactions where the alter ego is both the nominal transferor and the nominal owner of

      the transferred property. Bravia Cap., 2025 WL 552046, at *9; Technostroyexport, 295 F. Supp.

      2d at 379–80; see Spring Real Est., 2016 WL 769586, at *3.

             The result should be no different in bankruptcy. Bankruptcy is, among other things, a

      collective collection proceeding. Merit Mgmt. Grp., 583 U.S. at 370–71. That is why the

      Trustee has standing to assert (i) general claims for the benefit of creditors at large, 11 U.S.C. §

      544(a); see Nordlicht, 115 F.4th at 105; and (ii) particular avoidance claims of actual creditors,

      11 U.S.C. § 544(b), to the full extent of the transfer – even if the actual creditors’ debt is less

      than the transferred amount, Moore, 284 U.S. at 5. Bankruptcy “shields creditors from one

      another by replacing ‘race’ and other preferential systems of debt collection with a more

      equitable and orderly distribution of assets.” In re Alyucan Interstate Corp., 12 B.R. 803, 806

      (Bankr. D. Utah 1981) (discussing purpose of the automatic stay) (citing Fidelity Mortg. Invs. v.

      Camelia Builders, Inc., 550 F.2d 47, 55 (2d Cir. 1976) (case under the former Bankruptcy Act of

      1898, as amended)). It would undermine the collective nature of bankruptcy to send creditors on

      a race to the courthouse to pursue alter ego and fraudulent transfer remedies – remedies they

      may have no standing to pursue during the pendency of the Individual Debtor’s bankruptcy. See

      St. Paul Fire & Marine Ins. Co. v. PepsiCo, Inc., 884 F.2d 688, 704–05 (2d Cir. 1989).

             Even if creditors could bring these actions outside of bankruptcy, the costs to do so would

      be high: the Trustee’s investigation into the Individual Debtor’s financial affairs has been highly

      litigated and time consuming. Forcing creditors to pursue these avoidance actions outside of

      bankruptcy or forego their prosecution would promote an inequitable and uneven recovery for



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      the Individual Debtor’s creditors, many of whom likely could not pay the fees and costs

      associated with such an effort. See Union Bank v. Wolas, 502 U.S. 151, 160–61 (1991) (section

      547 is designed to balance related goals of preventing a race to the courthouse and providing for

      an equitable distribution to all creditors); Lawson v. Ford Motor Co. (In re Roblin Indus., Inc.),

      78 F.3d 30, 40–41 (2d Cir. 1996) (same). The Trustee is the person to pool the creditors’

      interests in the estate and bring the avoidance actions for their collective benefit. 11 U.S.C. §§

      323, 541–50.

              Finally, Howland also runs contrary to Delaware alter ego law. It is an accident of our

      legal system that, generally, alter ego results in vicarious liability – the alter ego doctrine is

      about disregarding the corporate form where it is abused and causes fraud or injustice. See

      Pauley Petroleum Inc. v. Cont’l Oil Co., 239 A.2d 629, 633 (Del. 1968) (“There is, of course, no

      doubt that upon a proper showing corporate entities as between parent and subsidiary may be

      disregarded and the ultimate party in interest, the parent, be regarded in law and fact as the sole

      party in a particular transaction.”). As the Delaware Court of Chancery observed “[a]t its most

      basic level, reverse veil-piercing involves the imposition of liability on a business organization

      for the liabilities of its owners”, Manichaean Cap., LLC v. Exela Techs., Inc., 251 A.3d 694, 710

      (Del. Ch. 2021) (action to collect on appraisal judgment), because “where the subsidiary is a

      mere alter ego of the parent . . . the Court [will] treat the assets of the subsidiary as those of the

      parent”, Manichaean Cap., 251 A.3d at 710 (alteration in the original).

              Most relief in the common law takes the form of money damages. The primary use of an

      alter ego claim is to spread liability from a defendant liable at law for money damages on, e.g.,

      tort or contract to a defendant with deeper pockets. See NetJets Aviation, Inc. v. LHC

      Commc’ns, LLC, 537 F.3d 168, 176 (2d Cir. 2008) (“Nonetheless, in appropriate circumstances,



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      the distinction between the entity and its owner ‘may be disregarded’ to require an owner to

      answer for the entity’s debts.”) (action on contract); Wilson v. Thorn Energy, LLC, 787 F. Supp.

      2d 286, 294 (S.D.N.Y. 2011) (“A plaintiff seeking to hold the owners of a corporation liable for

      the corporation’s debts ‘faces a difficult task.’”) (action on fraud); Tronox Inc. v. Anadarko

      Petroleum Corp. (In re Tronox Inc.), 549 B.R. 21, 43–44 (Bankr. S.D.N.Y. 2016) (“Under

      Delaware law, veil piercing is a doctrine of equity. . . . Veil piercing is thus not a purely

      independent cause of action. Instead, piercing the corporate veil effectively amounts to the

      imposition of joint and several liability between a direct actor and its corporate affiliate for some

      underlying wrong committed by the direct actor.”) (action on tort) (emphasis added).

             However, the avoidance of a transfer is not money damages. “[T]he purpose of the

      avoidance provision is to preserve the property includable within the bankruptcy estate”. Begier,

      496 U.S. at 59 (discussing section 547 and the avoidance of preferential transfers); see In re PWS

      Holding Corp., 303 F.3d 308, 313 (3d Cir. 2002) (“Fraudulent conveyance law aims ‘to make

      available to creditors those assets of the debtor that are rightfully a part of the bankruptcy estate,

      even if they have been transferred away.’”); Sapir v. C.P.Q. Colorchrome Corp. (In re Photo

      Promotion Assocs., Inc.), 881 F.2d 6, 9–10 (2d Cir. 1989) (holding that allowing an

      administrative claim holder to keep unauthorized post-petition transfers would be inequitable to

      other creditors who have similar claims). To this end, the relief provided by sections 548 and

      549 of the Bankruptcy Code and section 273 and 274 of NYUVTA is avoidance of the subject

      transfer – not money damages. 11 U.S.C. §§ 548, 549; N.Y. DEBT. & CRED. §§ 273, 274.

             Upon avoidance of the transfer, section 550(a) of the Bankruptcy Code and section

      276(b) of NYUVTA allow recovery of the specific property transferred, the value thereof, or the

      proceeds thereof. 11 U.S.C. § 550(a); N.Y. DEBT. & CRED. § 276(b). It is, therefore, entirely



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      unsurprising that disregarding the corporate form and treating the assets of the alter ego as the

      assets of the debtor operates differently with regard to avoidance actions than it does with regard

      to other actions. See Manichaean Cap., 251 A.3d at 710 (“In the parent/subsidiary context,

      ‘where the subsidiary is a mere alter ego of the parent . . . the Court [will] treat the assets of the

      subsidiary as those of the parent.’”).

              “Delaware will not countenance the use of the corporate form as a means to facilitate

      fraud or injustice.” Manichaean Cap., 251 A.3d at 714. Fraudulent and unauthorized post-

      petition transfer law align with this purpose. They exist to prevent inequitable results arising

      from the dissipation of assets. See Begier, 496 U.S. at 59; PWS Holding Corp., 303 F.3d at 313;

      Photo Promotion Assocs., 881 F.2d at 9–10. It would be fundamentally absurd and contrary to

      the purpose of the doctrine, if alter ego could not be used to prevent fraud or injustice resulting

      from a fraudulent or unauthorized post-petition transfer. These two bodies of law can be used

      together. McNellis, 420 F.2d at 53; ASARCO, 382 B.R. at 65–68; see Bravia Cap., 2025 WL

      552046, at *9; Technostroyexport, 295 F. Supp. 2d at 379–80; see also Spring Real Est., 2016

      WL 769586, at *3.

                                                       ***

              For all these reasons, the Court concludes a debtor may make a transfer through an alter

      ego and an alter ego’s property is property of the debtor’s estate. To the extent the Trustee has

      plausibly pled alter ego, the Trustee has plausibly pled the Individual Debtor transferred property

      that is, or would have been but for the transfers, property of the estate. To this same extent, the

      Trustee therefore has standing to bring his NYUVTA claims and, for the reasons stated above,

      has plausibly pled those claims. Alter ego can be used to support an avoidable transfer claim

      under the Bankruptcy Code or NYUVTA.



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                 2.      Issues (ii) and (iv): Prejudice to alter egos’ trade creditors and substantive
                         consolidation

             The Court turns to the Joint Defendants’ remaining arguments. The Joint Defendants

      argue the Trustee has failed to plead a cognizable reverse veil piercing claim under Delaware law

      because (a) the Trustee has failed to plead lack of prejudice to creditors of the alleged alter ego;

      and (b) the Joint Defendants would, as a matter of law, be prejudiced by reverse veil-piercing.

      The Joint Defendants also argue (c) the Trustee is seeking impermissible nunc pro tunc relief;

      and (d) even if the relief were otherwise permissible under state law, the relief sought could also

      be achieved by substantive consolidation and therefore it is inequitable to allow the Trustee that

      relief without meeting the test required for nunc pro tunc substantive consolidation. Woven

      throughout the Joint Defendants’ arguments is the contention that the relief the Trustee seeks is

      deeply inequitable to them as innocent trade creditors of the alleged alter egos.

             The Trustee argues (a) the caselaw is clear a plaintiff is not required to plead lack of

      prejudice to creditors of an alleged alter ego; (b) prejudice is a fact intensive inquiry not

      resolvable on a motion to dismiss or for judgment on the pleadings and, in any event, the

      Bankruptcy Code provides the Joint Defendants protections unavailable outside of bankruptcy;

      (c) he is not seeking nunc pro tunc relief with his alter ego claims but rather seeking to conform

      legal reality to factual reality; and (d) while the relief alter ego provides in bankruptcy

      proceedings may be similar to substantive consolidation, the factual and legal predicates for the

      two remedies differ and the Trustee has pled alter ego. The Trustee also disputes the contention

      that the Joint Defendants are all innocent trade creditors and that the relief he seeks is

      fundamentally unfair.




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                          i.      Issue (ii): Does applicable law allow for reverse veil piercing or
                                  alter ego determinations?

              As stated above, the Joint Defendants interpret the Avoidance Claims to allege transfers:

                  A(Individual Debtor) = B(Alter ego)                            C(Joint Defendant)
                          (Alter ego determination)      (Transfer of B’s property)

      With respect to issue (ii), the Joint Defendants argue that even if an alter ego determination

      would create an identity between the Individual Debtor and the alleged alter egos, avoiding the

      BÆC transfer is prejudicial because the Joint Defendants did not know A=B, and, hence, the

      Court cannot as a matter of law make an alter ego determination.

              The Court disagrees. First, the Trustee is not required to plead a lack of prejudice to the

      alter egos’ creditors. In adopting reverse veil-piercing, the Delaware Court of Chancery held

      that courts must consider the traditional alter ego factors and additionally consider a series of

      other factors that, essentially, relate to prejudice to the alleged alter ego’s creditors, owners, and

      other stakeholders. Manichaean Cap., 251 A.3d at 714–15. Nevertheless, the Court of Chancery

      rejected a defendant’s argument the complaint should be dismissed for failure to plead a lack of

      prejudice to certain creditors of the alleged alter ego. Id. at 718. Instead, the Court of Chancery

      held “[t]here is no basis in the Complaint to infer that reverse veil-piercing will cause harm to

      innocent third-party creditors. . . . To be clear, factual allegations related to . . . third-party

      creditors are not in the Complaint, and for now at least, my analysis is confined to the ‘four

      corners’ of that pleading.” Id. The Court has been provided no reason to believe the Delaware

      Supreme Court would disagree with the Court of Chancery on this issue. Prejudice is an issue

      that requires factual development.

              Second, the Trustee may plead the Joint Defendants are the initial transferees; it does not

      matter that subsequent transferees have different defenses. See Merit Mgmt. Grp., 583 U.S. at


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      382–86 (holding plaintiff could plead transfer in a way that a safe harbor defense was

      inapplicable); cf. Covey v. Casey’s Gen. Stores, Inc. (In re Duckworth), Bankruptcy No. 10-

      83603, Adversary No. 11-8104, 2012 WL 4434681, at *8 (Bankr. C.D. Ill. Sept. 24, 2012)

      (holding trustee’s use of alter ego was impermissible in part because it would deprive defendant

      of subsequent transferee defenses it would have if trustee pled a different fraudulent transfer).

      The Joint Defendants can argue the Trustee has not pled a transfer under the Bankruptcy Code or

      NYUVTA. See Merit Mgmt. Grp., 583 U.S. at 382. Indeed, the Joint Defendants have done so,

      as discussed above. They can continue to do so as these proceedings move beyond the pleading

      stage.

               In support of their argument, the Joint Defendants urge the Court to adopt the holding of

      Duckworth, but their reliance is misplaced. The court in Duckworth was not faced with motions

      to dismiss – it was faced with motions for summary judgment. Duckworth, 2012 WL 4434681,

      at *2. The Duckworth court determined on the undisputed facts that it would be inequitable and

      contrary to applicable state law to allow the trustee to recover from a trade creditor of the alleged

      alter ego. Id. at *7. Here, the Joint Motions are motions to dismiss or for judgment on the

      pleadings. At this stage, the standard is whether the Trustee’s well-pled allegations, taken as

      true, support a determination of impermissible prejudice. Manichaean Cap., 251 A.3d at 718. A

      review of the complaints and the incorporated alter ego complaints does not support such a

      determination.

               The Joint Defendants do not have a right to the Trustee pleading that they are subsequent

      transferees. See Merit Mgmt. Grp., 583 U.S. at 382. The Trustee pleads transfers:

                           A(Individual Debtor)                        C(Joint Defendant)
                                    (Transfer of A’s property through alter ego B)




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      He is not required to plead an AÆBÆC transfer, treating the alter ego determination as a

      transfer, such that he alleges the Individual Debtor transferred his property to the alter egos as

      the initial transferees and the Joint Defendants are subsequent transferees of the alter egos.

                           ii.   Issue (iv): May a determination of reverse veil piercing or alter ego
                                 be applied retroactively?

              Turning to issue (iv), the Court concludes the Trustee is not seeking nunc pro tunc relief.

      Adjudging an entity to be and have been an alter ego of another entity is not affording nunc pro

      tunc relief – it is adjudging that the corporate form is and has been a façade. Under the Joint

      Defendants’ theory of alter ego, there would be no remedy available for a prevailing party. The

      Joint Defendants argue under Delaware law an alter ego determination merely imposes vicarious

      liability for a companion claim reducible to money damages. If an alter ego determination could

      only prospectively spread liability as the Joint Defendants assert, the alter ego would not be

      liable on the prevailing party’s companion claim based on already existing facts. This is not how

      Delaware law operates. Alter ego may be brought alongside the companion claim, see Tronox,

      549 B.R. at 27 (personal injury plaintiffs seek to impose vicarious liability through various

      theories, including alter ego, where original defendant is not amendable to suit), or even after

      judgment is entered on the companion claim, see Manichaean Cap., 251 A.3d at 699–701 (alter

      ego claim was brought after appraisal judgment), without any analysis as to whether nunc pro

      tunc relief is appropriate. This is because nunc pro tunc relief is not being sought. See Reid v.

      Wolf (In re Wolf), 644 B.R. 725, 749 n. 9 (N.D. Ill. 2022) (rejecting “confusing” argument that

      an alter ego determination would be impermissibly retroactive in a bankruptcy case). Alter ego

      seeks a remedy based on existing facts, just as a breach of contract claim seeks a remedy on

      existing facts.




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                An alter ego determination is not a transfer – it does not create an interest in property,

      but rather recognizes an interest in property. This is a fundamental flaw in the Joint Defendants’

      interpretation of the Avoidance Claims. As depicted above, the Joint Defendants interpret the

      Avoidance Claims to be alleging transfers:

                   A(Individual Debtor) = B(Alter ego)                            C(Joint Defendant)
                            (Alter ego determination)     (Transfer of B’s property)

      Assuming arguendo that an alter ego determination creates an identity between the Individual

      Debtor and the alter ego, the Joint Defendants argue an alter ego determination would change

      the nature of the BÆC transfer after the fact. Therefore, the Joint Defendants argue the Court

      cannot treat the alter ego determination – A=B, which could be stated AÅB – as having

      occurred at the time of the BÆC transfer.

                The Trustee is not, however, alleging the A=B transfer, but rather alleging the alter egos

      have always been a mere instrumentality of the Individual Debtor. He alleges transfers:

                            A(Individual Debtor)                          C(Joint Defendant)
                                       (Transfer of A’s property through alter ego B)

      and asserts such transfers through the alter egos are the Individual Debtor’s modus operandi to

      obtain goods and services for himself, his family, his associates, and his businesses and to move

      assets.

                The Court declines to adopt a prudential limitation on the use of alter ego in bankruptcy

      cases. The Delaware Court of Chancery held in Manichaean Capital that

                The risks that reverse veil-piercing may be used as a blunt instrument to harm innocent
                parties, and to disrupt the expectations of arms-length bargaining, while real, do not, in
                my view, justify the rejection of reverse veil-piercing outright. Rather, the recognition of
                the risks creates an opportunity to manage them, and to do so in a manner that serves the
                interests of equity.




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      251 A.3d at 712. The Court sees no reason why courts sitting in bankruptcy are unable or ill-

      equipped to take up the “opportunity to manage [the risks of reverse veil-piercing]” in the

      interests of equity as the Court of Chancery directs. Indeed, one of the overriding purposes of

      the Bankruptcy Code is to provide a single forum for the adjustment and final, equitable

      resolution of claims, including by collective collection proceedings. See 11 U.S.C. §§ 541 et

      seq. The balancing of the traditional alter ego factors and prejudice to the alter ego’s creditors

      and other stakeholders, see Manichaean Cap., 251 A.3d at 714–15, is within the purview of a

      bankruptcy court.

             The Joint Defendants urge the Court to view the Trustee’s alter ego allegations as sub

      rosa substantive consolidation allegations and to, hence, apply restrictions on the retroactive

      effect of any alter ego determination – regardless of whether such restrictions apply at state law.

      Substantive consolidation “results in, inter alia¸ pooling the assets of, and claims against, the two

      entities; satisfying liabilities from the resultant common fund; eliminating inter-company claims;

      and combining the creditors of the two companies for purposes of voting on reorganization

      plans.” Union Savs. Bank v. Augie/Restivo Baking Co., Ltd. (In re Augie/Restivo Baking Co.,

      Ltd.), 860 F.2d 515, 518 (2d Cir. 1988). “The sole purpose of substantive consolidation is to

      ensure the equitable treatment of all creditors.” Augie/Restivo, 860 F.2d at 518. Substantive

      consolidation requires (i) creditors to have “dealt with the entities as a single economic unit and

      ‘did not rely on their separate identity in extending credit’”; and (ii) the debtors’ affairs to be “so

      entangled that consolidation will benefit all creditors.” Id. In Drabkin v. Midland-Ross Corp.

      (In re Auto-Train Corp.), the United States Court of Appeals for the District of Columbia Circuit

      held that substantive consolidation orders should be issued nunc pro tunc where the proponent

      can show its benefits outweigh the harms to potential avoidance defendants. 810 F.2d 270, 277



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      (D.C. Cir. 1987). The Joint Defendants urge the Court to apply Auto-Train to any alter ego

      determination.

             As the Trustee acknowledges, the effect of an alter ego determination in bankruptcy is

      similar to the effect of substantive consolidation – assets and liabilities of the alter egos are

      merged. However, the availability of substantive consolidation – which the Joint Defendants

      appear to doubt – does not mean alter ego cannot be pled in bankruptcy cases. In re Owens

      Corning, 419 F.3d 195, 205–06 (3d Cir. 2005) (“Prior to substantive consolidation, other

      remedies for corporate disregard were (and remain) in place. For example, where a subsidiary is

      so dominated by its corporate parent as to be the parent’s ‘alter ego,’ the ‘corporate veil’ of the

      subsidiary can be ignored (or ‘pierced’) under state law.”).

             Moreover, the elements and the purposes of the doctrines differ. Under Delaware law,

      traditional alter ego or piercing the corporate veil has two elements: (i) the corporate entity

      whose form is to be disregarded is so dominated and controlled by its alleged alter ego that the

      corporate entity and its alter ego are, in fact, a single economic unit; and (ii) the corporate form

      to be disregarded causes fraud or some similar injustice. Pauley Petroleum, 239 A.2d at 633;

      Manichaean Cap., 251 A.3d at 706; Wallace ex rel. Cencom Cable Income Partners II, Inc. v.

      Wood, 752 A.2d 1175, 1184 (Del. Ch. 1999); Geyer v. Ingersoll Publ’ns Co., 621 A.2d 784, 793

      (Del. Ch. 1992). Reverse veil-piercing requires a court additionally consider prejudice to

      creditors, owners, and other stakeholders of the alleged alter ego. Manichaean Cap., 251 A.3d

      at 714–15. Alter ego provides a remedy for abuse of the corporate form. In contrast, provided

      there is no outweighing harm, substantive consolidation provides a remedy for overly

      complicated financial affairs that could be treated much more simply.




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             This is a distinction with a difference. “Substantive consolidation is better thought of as

      an economic remedy, the primary goal being the equitable treatment of all creditors. Conversely,

      a state law alter ego claim is an equitable remedy focused on preventing ‘fraud or injustice.’”

      Parker v. Titan Mining (US) Corp. (In re Star Mountain Res., Inc.), Case No.: 2:18-bk-01594-

      DPC, Adversary No.: 2:19-ap-00412-DPC, 2022 WL 2294175, at *8 (Bankr. D. Ariz. June 22,

      2022). Substantive consolidation does not seek to remedy any fraud or injustice. Augie/Restivo,

      860 F.2d at 518. The corporate form need not have been abused, the entities need not have been

      shams, and no creditor needs to have been harmed by the corporate form. Id. All that is

      necessary is that creditors would benefit from substantive consolidation. Id. In substantively

      consolidating estates, a court is solving a practical problem – the management of highly

      intertwined estates with the prospect of high administrative costs spent untangling the estates –

      by prospectively simplifying the facts before it, where doing so does more good than harm. See

      id. In piercing the corporate veil, a court is recognizing an existing reality of abuse of the

      corporate form to the detriment of creditors and, as a matter of equity, not allowing that abuse to

      persist. See Pauley Petroleum, 239 A.2d at 633. Substantive consolidation may involve a

      transfer; an alter ego determination does not.

             Bankruptcy is about, among other things, the equitable spreading of loss. In seeking to

      have the Court apply Auto-Train to alter ego claims, the Joint Defendants try to shift the focus of

      the analysis to the BÆC transfer and away from A. In so doing, the Joint Defendants ignore the

      shell game alleged in the complaints involving numerous alter egos perpetrated by and for the

      benefit of the Individual Debtor to hinder, delay, or defraud his creditors – which allegations are

      central to an alter ego analysis. See Pauley Petroleum, 239 A.2d at 633. (See, e.g., Complaint

      ¶¶ 15–34, Despins v. Agora Lab, Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-



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      05005 (JAM) (Bankr. D. Conn. Feb. 9, 2024), ECF No. 1.) These allegations, taken as true, are

      relevant to the balancing of the reverse veil-piercing factors. Manichaean Cap., 251 A.3d at

      715–16 (stating courts will balance “the social value of upholding the legitimate expectations of

      the affected corporate creditors or debtors, applying a rebuttable presumption in favor of assuring

      such expectations, against the importance of the policies served by allowing a reverse pierce

      under the particular circumstances involved.”) (citing Gregory S. Crespi, The Reverse Pierce

      Doctrine: Applying Appropriate Standards, 16 J. CORP. L. 33, 51 (1990)).

               Although the Joint Defendants ask the Court to apply the Auto-Train nunc pro tunc

      analysis to the alter ego claims, the Court concludes there is no reason or basis to depart from

      Delaware alter ego law. It remains available to trustees notwithstanding the advent of

      substantive consolidation. Owens Corning, 419 F.3d at 205–06.

                                                      ***

               For all these reasons, the Joint Defendants’ arguments on issues (ii) and (iv) are not

      persuasive. The Court will not balance prejudice to the Joint Defendants and the factors

      supporting alter ego on a motion to dismiss or for judgment on the pleadings. Similarly, the

      Court will not impose prudential limits on the use of alter ego beyond the elements of the

      doctrine.

               C.      Non-Joint Motions and Z&Z Objection24

               The Court will address only the distinct arguments made by the Non-Joint Defendants on

      the four issues. The following Non-Joint Defendants: (1) FFP (BVI) Limited; (2) Mr. Aaron A.

      Mitchell; (3) V.X. Cerda & Associates, P.A.; (4) The Francis Firm PLLC; (5) Berkeley Rowe

      Ltd.; (6) Weddle Law PLLC; (7) Lawall & Mitchell, LLC; (8) G4S Security Systems (Hong



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           See n. 12, supra.
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      Kong) Ltd.; and (9) ACASS Canada LTD, (collectively, the “Assorted Non-Joint Defendants”)

      are represented by the same counsel who argued their Non-Joint Motions as a single argument.

             There are two other Non-Joint Defendants: (10) Liberty Jet Management Corp. (“Liberty

      Jet”) and (11) Z&Z. Liberty Jet and Z&Z raise no distinct arguments that are not also raised by

      the Assorted Non-Joint Defendants. Moreover, neither Liberty Jet nor Z&Z advanced

      independent arguments during the hearing. The Court will, therefore, only discuss the arguments

      of the Assorted Non-Joint Defendants. To the extent Liberty Jet or Z&Z raised or joined in the

      arguments discussed below, this discussion also applies to Liberty Jet and Z&Z.

             The Assorted Non-Joint Defendants raise two distinct arguments. First, with respect to

      issue (ii) – whether applicable law allows for reverse veil piercing or alter ego determinations –

      the Assorted Non-Joint Defendants argue the Trustee lacks standing to bring an alter ego claim

      because he stands in the shoes of the Individual Debtor who, accepting the Trustee’s allegations

      as true, is in pari delicto with the alleged alter egos. Second, with respect to issues (i), whether

      the Trustee can avoid an initial transfer by a non-debtor entity, and (iii), the effect under

      applicable law of a reverse veil piercing or alter ego determination, the Assorted Non-Joint

      Defendants argue that the Trustee is improperly asserting claims of the alter egos’ bankruptcy

      estates without the alter egos having filed for bankruptcy and without the substantive

      consolidation of the Individual Debtor’s Chapter 11 case and the not-filed alter ego bankruptcy

      cases. In doing so, the Assorted Non-Joint Defendants assert the Trustee is bypassing disclosure

      requirements of the Bankruptcy Code.

             In response, the Trustee argues he has standing under either section 541 or section 544(a)

      of the Bankruptcy Code because he stands in the shoes of the Individual Debtor’s creditors and,

      even if he did not, the insider exception to in pari delicto would apply. The Trustee argues he



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      has properly asserted claims of the Individual Debtor’s bankruptcy estate, has properly asserted

      alter ego claims, and that, in any event, he will be seeking a new claims bar date to allow

      creditors of the alter egos to assert claims against the estate.

                 1.      Issue (ii): Standing

             The Bankruptcy Code provides a bankruptcy trustee standing to bring certain claims on

      behalf of creditors. PepsiCo, Inc., 884 F.2d at 700. Absent such statutory authority, “a

      bankruptcy trustee has no standing generally to sue third parties on behalf of the estate's

      creditors, but may only assert claims held by the bankrupt corporation itself.” Shearson Lehman

      Hutton Inc. v. Wagoner, 944 F.2d 114, 118 (2d Cir. 1991); see Hirsch v. Arthur Andersen & Co.,

      72 F.3d 1085, 1093 (2d Cir. 1995); Sobchack v. Am. Nat’l Bank & Trust Co. (In re Ionosphere

      Clubs, Inc.), 17 F.3d 600, 607 (2d Cir. 1994).

             Where a trustee is not asserting a claim on behalf of creditors, Wagoner directs courts to

      determine (i) whether the debtor could have brought the claim and (ii) if so, whether the trustee

      is in pari delicto by imputation of the debtor’s conduct. Wagoner, 944 F.2d at 119–20.

      Although an assertion of in pari delicto is typically considered an affirmative equitable defense,

      the Wagoner doctrine, including its consideration of in pari delicto, “functions as a prudential

      standing limitation.” Carney ex rel. Highview Point Partners, LLC v. Horion Invs. Ltd., 107 F.

      Supp. 3d 216, 228 (D. Conn. 2015).

             The Second Circuit has held trustees have standing to bring alter ego claims on behalf of

      creditors at large. In PepsiCo, the Second Circuit adopted the approach of the United States

      Court of Appeals for the Seventh Circuit in Koch Refining v. Farmers Union Cent. Exch., Inc.,

      831 F.2d 1339 (7th Cir. 1987). PepsiCo, 884 F.2d at 697–98, 700–01, 704–05. In Koch

      Refining, the Seventh Circuit held that, pursuant to section 544(a), a bankruptcy trustee is “the



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      representative of the general creditors” and could pursue alter ego claims because they address

      generalized rather than particularized harm to creditors. 831 F.2d at 1351–54; see Titan Real

      Est. Ventures, LLC v. MJCC Realty Ltd. P’ship (In re Flanagan), 415 B.R. 29, 47 (D. Conn.

      2009). This accords with the statutory text of section 544(a): any judgment creditor could bring

      an alter ego claim to collect on their debt; it does not depend on its particular claim. 11 U.S.C. §

      544(a).

                While the Second Circuit distinguished PepsiCo in Picard v. JPMorgan Chase Bank &

      Co. (In re Bernard L. Madoff Inv. Secs. LLC), 721 F.3d 54, 70–71 (2d Cir. 2013), it did so on

      facts where the Securities Investor Protection Act trustee sought to bring particularized claims of

      defrauded creditors – even if such claims were very commonly held on the particular facts of the

      Madoff Ponzi scheme25, JPMorgan¸721 F.3d at 58–59. The claims in JPMorgan closely

      resemble those in Wagoner. Compare JPMorgan, 721 F.3d at 58–59 with Wagoner, 944 F.2d at

      116–17. Moreover, consistent with PespiCo, the Second Circuit has recently reiterated that

      trustees have standing to bring alter ego on behalf of creditors at large and that alter ego claims

      are property of the estate. Compare Nordlicht, 115 F.4th at 104–06, 107–11 with PepsiCo, 884

      F.2d at 701.

                The Assorted Non-Joint Defendants argue Nordlicht follows a line of cases starting with

      Mixon v. Anderson (In re Ozark Rest. Equip. Co.), 816 F.2d 1222 (8th Cir. 1987), which, unlike

      Koch, held that section 544(a) does not provide the trustee standing to bring general claims of

      creditors at large. See PepsiCo, 884 F.2d at 698–99. The Assorted Non-Joint Defendants assert



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         Indeed, section 544(a) avoids this sort of accidentally general claim because it does not give a
      trustee standing to bring claims of particular creditors but rather the standing to bring claims a
      hypothetical judgment creditor – without a particular underlying claim – could bring, that is,
      section 544(a) introduces a creditor external to the particular facts surrounding the debtor and its
      debts.
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      this means the Trustee’s alter ego claims are subject to Wagoner. While Nordlicht itself is silent

      on section 544(a), it is completely consistent with holding a trustee has the rights and powers of

      certain hypothetical creditors to hold his claims derived from those rights and powers are

      property of the estate. Moreover, even if it is only pursuant to section 541 that a trustee has

      standing to bring an alter ego claim, such standing is derived from the general claims of creditors

      at large.

              Hence, the Wagoner doctrine is not applicable. It does not apply where a trustee brings

      an action standing in the shoes of a creditor. Wagoner, 944 F.2d at 118 (“The trustee insists he is

      not asserting the claims of the noteholders, so it is unnecessary for us to delve deeply into when,

      if ever, a trustee may sue a third party on behalf of the bankrupt’s creditors.”); see Wells Fargo

      Bank, N.A. v. First Republic Bank (In re Salander), 503 B.R. 559, 569 n. 12 (S.D.N.Y. 2013)

      (“neither the Wagoner rule nor the in pari delicto doctrine apply to a trustee’s statutory standing

      under Section 544 of the Bankruptcy Code.”); Arnold v. First Citizens Nat’l Bank (In re

      Cornerstone Homes, Inc.), 567 B.R. 37, 52–53 (Bankr. W.D.N.Y. 2017). The Court does not

      reach the parties’ arguments regarding exceptions to in pari delicto. The Trustee has standing to

      bring the alter ego claims.

                  2.      Issue (i) and (iii): Alter ego, substantive consolidation, and disclosure

              The Assorted Non-Joint Defendants raise largely the same argument as the Joint

      Defendants, which argument the Court has rejected above, as to why the Trustee cannot use alter

      ego to plead that the Individual Debtor is the transferor or that property of the debtor and/or

      property that is or would be, but for the transfer, property of the estate was transferred. The

      Court will not discuss that argument again. The distinction arises from what the Assorted Non-

      Joint Defendants argue the Trustee should have instead done. While the Joint Defendants argue



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      the Trustee can only recover from the alleged alter egos themselves and that is the extent of his

      potential recovery, the Assorted Non-Joint Defendants argue the Trustee should have seized

      control over the Individual Debtor’s businesses, placed them into bankruptcy, and then sought

      nunc pro tunc substantive consolidation.

             The Court has also already ruled above that, notwithstanding the existence of substantive

      consolidation, trustees may assert alter ego claims. As to the Assorted Non-Joint Defendants’

      notice concerns, the Assorted Non-Joint Defendants do not represent the creditors of the alleged

      alter egos at large. The Assorted Non-Joint Defendants themselves have notice of the Trustee’s

      alter ego claims. The Trustee has stated multiple times that he will seek a new bar date for the

      creditors of adjudged alter egos. The Court will consider proper notice and service of such a bar

      date should such a request be made.

             D.      Issue (ii): plausibility of Alter Ego allegations

             The Court has addressed the Joint Defendants’ and Non-Joint Defendants’ arguments as

      to why the Trustee has not plausibly pled alter ego. The Court has found the Trustee has

      standing to bring his reverse veil-piercing claims, he is not required to plead a lack of prejudice

      to the alleged alter egos’ creditors, and prejudice does not exist as a matter of law. This

      discussion, however, leaves issue (ii) – whether applicable law allows for reverse veil piercing or

      alter ego determinations – less than completely resolved.

             On the basis of the allegations in the complaints and the incorporated alter ego

      complaints, the Court concludes the Trustee has plausibly alleged (1) Golden Spring; (2) Lamp

      Capital; (3) HCHK Tech; (4) HCHK Property; (5) Lexington; (6) Greenwich Land; and (7)

      Leading Shine are alter egos of the Individual Debtor and their corporate veils should be pierced

      in reverse. The Trustee has plausibly pled (i) the Individual Debtor dominated and controlled the



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      alter egos such that they have no independent economic existence and serve only as a façade for

      the Individual Debtor; and (ii) the corporate form of the alter egos serves to hinder, delay, or

      defraud the Individual Debtor’s creditors as part of a large shell game designed to effectively

      judgment proof the Individual Debtor. See Manichaean Cap., 251 A.3d at 706. (See, e.g.,

      Complaint ¶¶ 13–38, Despins v. Golden Spring (N.Y.) Ltd. (In re Kwok), Case No. 22-50073

      (JAM), Adv. P. No. 23-05018 (JAM) (Bankr. D. Conn. July 25, 2023), ECF No. 1.)

      Furthermore, the allegations in the complaints and the alter ego complaints, taken as true, do not

      establish prejudice to the creditors of the alter egos. See Manichaean Cap., 251 A.3d at 718.

      V.     CONCLUSION AND ORDER

             Certain issues before the Court are legal issues – but they are narrowly drawn and, in

      essence, ask the Court to look past or recharacterize the allegations in the complaints. The Court

      will not do so in ruling on motions to dismiss or for judgment on the pleadings. The defendants

      present the Trustee’s transfer allegations as a series, A=BÆC: an alter ego determination

      creating an identity between A, the Individual Debtor, and B, an alleged alter ego, and then a

      transfer of B’s property to C, a Joint Defendant. The Trustee, however, alleges AÆC transfers,

      transfers of A’s property to C using B. Other issues before the Court are drawn in an attempt to

      make them amenable to adjudication on a motion to dismiss. In doing so, the defendants focus

      on the unalleged BÆC transfer and argue adding another transfer, A=B, to this transfer

      prejudices C. The defendants ask the Court to go beyond the pleadings and rule on the facts,

      which the Court will not do.




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             For the foregoing reasons, the Court concludes as follows regarding the four issues:

                  (i) Can the Trustee avoid an initial transfer by a non-debtor entity?

             The Trustee does not seek to avoid an initial transfer by a non-debtor entity. The Trustee

      alleges the Individual Debtor made the transfers. Transfer is defined to include indirect transfers.

      Hence, the nominal transferor is not controlling. The Trustee advances alter ego and beneficial

      ownership allegations to assert the Individual Debtor is the transferor.

                (ii) Does applicable law allow for reverse veil piercing or alter ego
             determinations?

             Reverse veil-piercing is recognized by Delaware law. The Court has considered the

      parties’ arguments regarding the sufficiency of the Trustee’s pleading of alter ego. The Trustee

      has standing to bring a reverse veil-piercing claim. The Trustee is not required to plead lack of

      prejudice to creditors of the alleged alter ego. The Trustee has plausibly pled alter ego.

                (iii) What is the effect under applicable law of a reverse veil piercing or alter ego
             determination?

             The Trustee does not solely rely on alter ego allegations – he also pleads beneficial

      ownership. Nevertheless, the effect of reverse veil-piercing under Delaware law is that the

      corporate form is disregarded. Disregard of the corporate form has different results depending

      on the substantive law of the companion cause of action. Typically, it results in the imposition

      of vicarious liability. It may also be asserted to prove some claim or defense. Under the

      Bankruptcy Code, an alter ego determination can be used to establish a debtor made an indirect

      transfer and renders the property of the debtor’s alter ego property of the estate. Under

      NYUVTA, an alter ego determination can be used to avoid transfers by the alter ego of the alter

      ego’s property.




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                (iv) May a determination of reverse veil piercing or alter ego be applied
             retroactively?

             The Trustee is not seeking retroactive relief. Alter ego is a remedy for past and present

      abuse of the corporate form. It brings legal reality in line with factual reality. Alter ego survives

      the advent of substantive consolidation in bankruptcy proceedings. There is no basis to

      reinterpret the complaints as seeking substantive consolidation rather than alter ego.

             Accordingly, it is hereby ORDERED:

             1.      The Joint Motions, listed on Appendix A, are DENIED.

             2.      The Non-Joint Motions, listed on Appendix B, are DENIED IN PART with

      respect to any and all arguments raised therein relating to the issues set forth in the Joint Briefing

      Order. Notwithstanding the foregoing, this decision shall not apply to Stayed or Partially Stayed

      Avoidance Claims, as those terms are defined in paragraphs 2(e)(i) and (ii) of the Avoidance

      Action Procedures Order, insofar as those Avoidance Claims are stayed. Notations appear on

      Appendix D appended to this Order indicating which Avoidance Claims are Stayed or Partially

      Stayed Avoidance Claims.

             3.      The Z&Z Objection, listed on Appendix C to this Order, is OVERRULED IN

      PART with respect to any and all arguments raised therein relating to the issues set forth in the

      Joint Briefing Order. Notwithstanding the foregoing, this decision shall not apply to Stayed or

      Partially Stayed Avoidance Claims, as those terms are defined in paragraphs 2(e)(i) and (ii) of

      the Avoidance Action Procedures Order, insofar as those Avoidance Claims are stayed.

      Notations appear on Appendix D appended to this Order indicating which Avoidance Claims are

      Stayed or Partially Stayed Avoidance Claims.

             4.      On or before March 28, 2025, each Non-Joint Defendant shall file a joint

      statement with the Trustee in their respective avoidance actions stating the issues that remain to

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      be determined with respect to their Non-Joint Motions or the motion for judgment on the

      pleadings to which Z&Z objected. The statements must delineate with specificity where in the

      pleadings the issues are raised. Upon review of the statements, the Court will determine with

      respect to each matter whether a hearing is necessary or the matter may be decided on the

      submissions of the parties.

                       *5*44003%&3&%BU#SJEHFQPSU $POOFDUJDVUUIJT4th day of March, 2025.




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                                            APPENDIX A
                                            Joint Motions

       1.   Motion to Dismiss Adversary Proceeding, Despins v. Agora Lab, Inc. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05005 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 24 (filed by Agora Lab, Inc., defendant).

       2.   Motion to Dismiss Adversary Proceeding, Despins v. Amazon Web Servs., Inc. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05006 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 21 (filed by Amazon Web Services, Inc., defendant).

       3.   Motion to Dismiss Adversary Proceeding, Despins v. Direct Persuasion LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05010 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 26 (filed by Direct Persuasion LLC, defendant).

       4.   Motion to Dismiss Adversary Proceeding, Despins v. Fox News Network, LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05015 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 23 (filed by Fox News Network, LLC, defendant).

       5.   Motion to Dismiss Adversary Proceeding, Despins v. Arri Americas Inc. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05031 (JAM) (Bankr. D. Conn. Nov. 27,
            2024), ECF No. 17 (filed by Arri Americas Inc., defendant).

       6.   Motion to Dismiss Adversary Proceeding, Despins v. Teris-Phoenix, LLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05044 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 20 (filed by Teris-Phoenix, LLC, defendant).

       7.   Motion to Dismiss Adversary Proceeding, Despins v. Phillips Nizer LLP (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05047 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 23 (filed by Phillips Nizer LLP, defendant).

       8.   Motion to Dismiss Adversary Proceeding, Despins v. Gunderson (In re Kwok), Case No.
            22-50073 (JAM), Adv. P. No. 24-05048 (JAM) (Bankr. D. Conn. Oct. 18, 2024), ECF
            No. 21 (filed by Mr. Mark Gundersen, defendant).

       9.   Motion to Dismiss Adversary Proceeding, Despins v. 270 W. 39th St. Co., LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05055 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 17 (filed by 270 W. 39th St. Co., LLC, defendant).

      10.   Motion to Dismiss Adversary Proceeding, Despins v. Amazon.com, Inc. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05057 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 42 (filed by Amazon.com, Inc., defendant).

      11.   Motion to Dismiss Adversary Proceeding, Despins v. Anthem Health Plans, Inc. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05058 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 21 (filed by Anthem Health Plans, Inc., defendant).
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      12.   Motion to Dismiss Adversary Proceeding, Despins v. Fed. Express Corp. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05059 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 20 (filed by Federal Express Corporation, defendant).

      13.   Motion to Dismiss Adversary Proceeding, Despins v. DJD Creative LLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05063 (JAM) (Bankr. D. Conn. Dec. 4,
            2024), ECF No. 22 (filed by DJD Creative, LLC, defendant).

      14.   Motion to Dismiss Adversary Proceeding, Despins v. B&H Foto & Elecs. Corp. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05069 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 35 (filed by B&H Foto & Electronics Corp., defendant).

      15.   Motion for Judgment on the Pleadings, Despins v. Am. Express Co. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05077 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 18 (filed by American Express Company, defendant).

      16.   Motion to Dismiss Adversary Proceeding, Despins v. Ohtzar Shlomo Solomon Treasure
            LLC (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05082 (JAM) (Bankr. D.
            Conn. Oct. 18, 2024), ECF No. 17 (filed by Ohtzar Shlomo Solomon Treasure LLC,
            defendant).

      17.   Motion for Judgment on the Pleadings, Despins v. Zeta Glob. Corp. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05092 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 21 (filed by Zeta Global Corp., defendant).

      18.   Motion to Dismiss Adversary Proceeding, Despins v. GroCyber LLC (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05100 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 17 (filed by GroCyber LLC, defendant).

      19.   Motion to Dismiss Adversary Proceeding, Despins v. Conservative Campaign Tech., LLC
            (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05108 (JAM) (Bankr. D. Conn.
            Oct. 18, 2024), ECF No. 22 (filed by Conservative Campaign Technology, LLC,
            defendant).

      20.   Motion to Dismiss Adversary Proceeding, Despins v. Anthem HealthChoice Assurance,
            Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05112 (JAM) (Bankr. D.
            Conn. Oct. 18, 2024), ECF No. 23 (filed by Anthem HealthChoice Assurance Inc.,
            defendant).

      21.   Motion to Dismiss Adversary Proceeding, Despins v. ModSquad Inc. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05114 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 21 (filed by ModSquad Inc., defendant).

      22.   Motion for Judgment on the Pleadings, Despins v. Cloudflare, Inc. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05115 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 22 (filed by Cloudfare, Inc., defendant).

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      23.   Motion to Dismiss Adversary Proceeding, Despins v. 3 Columbus Circle LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05120 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 17 (filed by 3 Columbus Circle LLC, defendant).

      24.   Motion for Judgment on the Pleadings, Despins v. Indium Software Inc. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05122 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 19 (filed by Indium Software Inc., defendant).

      25.   Motion to Dismiss Adversary Proceeding, Despins v. Miller Motorcars Inc. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05128 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 18 (filed by Miller Motorcars Inc., defendant).

      26.   Motion to Dismiss Adversary Proceeding, Despins v. On the Spot Home Improvement,
            Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05130 (JAM) (Bankr. D.
            Conn. Oct. 18, 2024), ECF No. 21 (filed by On the Spot Home Improvement, Inc.,
            defendant).

      27.   Motion to Dismiss Adversary Proceeding, Despins v. Target Enters., LLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05138 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 19 (filed by Target Enterprises, LLC, defendant).

      28.   Motion to Dismiss Adversary Proceeding, Despins v. Flat Rate Movers, Ltd. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05141 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 19 (filed by Flat Rate Movers, Ltd., defendant).

      29.   Motion to Dismiss Adversary Proceeding, Despins v. Jamestown Assocs., LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05147 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 19 (filed by Jamestown Associates, LLC, defendant).

      30.   Motion to Dismiss Adversary Proceeding, Despins v. Nardello & Co., LLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05162 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 19 (filed by Nardello & Co., LLC, defendant).

      31.   Motion to Dismiss Adversary Proceeding, Despins v. Morvillo Abramowitz Grand Iason
            & Anello P.C. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05196 (JAM)
            (Bankr. D. Conn. Oct. 18, 2024), ECF No. 18 (filed by Morvillo Abramowitz Grand
            Iason & Anello P.C., defendant).

      32.   Motion to Dismiss Adversary Proceeding, Despins v. Clayman Rosenberg Kirshner &
            Linder LLP (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05202 (JAM)
            (Bankr. D. Conn. Oct. 18, 2024), ECF No. 28 (filed by Clayman Rosenberg Kirshner &
            Linder LLP, defendant).

      33.   Motion to Dismiss Adversary Proceeding, Despins v. Putnam’s Landscaping LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05211 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 18 (filed by Putnam’s Landscaping LLC, defendant).

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      34.   Motion for Judgment on the Pleadings, Despins v. Jason Miller (In re Kwok), Case No.
            22-50073 (JAM), Adv. P. No. 24-05219 (JAM) (Bankr. D. Conn. Oct. 18, 2024), ECF
            No. 23 (filed by Mr. Jason Miller, defendant).

      35.   Motion to Dismiss Adversary Proceeding, Despins v. Sedgwick Realty Corp. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05222 (JAM) (Bankr. D. Conn. Oct.
            18, 2024), ECF No. 18 (filed by Sedgwick Realty Corp., defendant).

      36.   Motion for Judgment on the Pleadings, Despins v. Cirrus Design Corp. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05225 (JAM) (Bankr. D. Conn. Oct. 18,
            2024), ECF No. 21 (filed by Cirrus Design Corp., defendant).

      37.   Motion to Dismiss Adversary Proceeding, Despins v. Marcum LLP (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05229 (JAM) (Bankr. D. Conn. Oct. 18, 2024),
            ECF No. 25 (filed by Marcum LLP, defendant).




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                                          APPENDIX B
                                         Non-Joint Motions

       1.   Motion to Dismiss Adversary Proceeding, Despins v. FFP (BVI) Ltd. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05056 (JAM) (Bankr. D. Conn. Aug. 12, 2024),
            ECF No. 17 (filed by FFP (BVI) Ltd., defendant).

       2.   Motion to Dismiss Adversary Proceeding, Despins v. Mitchell (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05110 (JAM) (Bankr. D. Conn. May 24, 2024), ECF No.
            19 (filed by Mr. Aaron A. Mitchell, defendant).

       3.   Motion to Dismiss Adversary Proceeding, Despins v. V.X. Cerda & Assocs. P.A. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05134 (JAM) (Bankr. D. Conn. June
            5, 2024), ECF No. 16 (filed by V.X. Cerda & Associates P.A., defendant).

       4.   Motion to Dismiss Adversary Proceeding, Despins v. Liberty Jet Mgmt. Corp. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05135 (JAM) (Bankr. D. Conn. June
            20, 2024), ECF No. 19 (filed by Liberty Jet Management Corp., defendant).

       5.   Motion to Dismiss Adversary Proceeding, Despins v. Francis Firm PLLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05168 (JAM) (Bankr. D. Conn. May 29,
            2024), ECF No. 15 (filed by The Francis Firm PLLC, defendant).

       6.   Motion to Dismiss Adversary Proceeding, Despins v. Berkeley Rowe Ltd. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05186 (JAM) (Bankr. D. Conn. Oct. 12,
            2024), ECF No. 35 (filed by Berkeley Rowe Ltd., defendant).

       7.   Motion to Dismiss Adversary Proceeding, Despins v. Weddle Law PLLC (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05188 (JAM) (Bankr. D. Conn. April 22,
            2024), ECF No. 11 (filed by Weddle Law PLLC, defendant).

       8.   Motion to Dismiss Adversary Proceeding, Despins v. Lawall & Mitchell, LLC (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05199 (JAM) (Bankr. D. Conn. May
            24, 2024), ECF No. 21 (filed by Lawall & Mitchell, LLC and Mr. Aaron A. Mitchell,
            defendants).

       9.   Motion to Dismiss Adversary Proceeding, Despins v. G4S Sec. Sys. (H.K.) Ltd. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05204 (JAM) (Bankr. D. Conn. Aug.
            22, 2024), ECF No. 19 (filed by G4S Security Systems (Hong Kong) Ltd., defendant).

      10.   Motion to Dismiss Adversary Proceeding, Despins v. ACASS Canada LTD. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05226 (JAM) (Bankr. D. Conn. Sept. 12,
            2024), ECF No. 26 (filed by ACASS Canada LTD., defendant).
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                                            APPENDIX C
                                            Z&Z Objection

       1.   Memorandum of Law in Opposition, Despins v. Zeisler & Zeisler, P.C. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05208 (JAM) (Bankr. D. Conn. Sept. 6,
            2024), ECF No. 21 (filed by Zeisler & Zeisler, P.C., defendant, in opposition to the
            Trustee’s Motion for Judgment on the Pleadings, Despins v. Zeisler & Zeisler, P.C. (In re
            Kwok), Case No. 22-50073 (JAM), Adv. P. No. 24-05208 (JAM) (Bankr. D. Conn. Aug.
            2, 2024), ECF No. 17).
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                                           APPENDIX D
                          Complaints Against Joint and Non-Joint Defendants

      Legend

      Complaints against Non-Joint Defendant are bolded

      Avoidance Claims
      AFT (BC) – Actual Fraudulent Transfer (Bankruptcy Code)
            Avoidance and recovery of an actual fraudulent transfer of an interest of the Individual
            Debtor in property from initial transferee pursuant to 11 U.S.C. §§ 548(a)(1)(A)
            and550(a).
      AFT (NY) – Actual Fraudulent Transfer (New York law)
            Avoidance and recovery of an actual fraudulent transfer of an interest of the Individual
            Debtor in property from initial transferee pursuant to N.Y. DEBT. & CRED. §§ 273(a)(1),
            274, and 276 and 11 U.S.C. §§ 544(b) and 550(a).
      CFT (BC) – Constructive Fraudulent Transfer (Bankruptcy Code)
            Avoidance and recovery of a constructive fraudulent transfer of an interest of the
            Individual Debtor in property from initial transferee pursuant to 11 U.S.C. §§
            548(a)(1)(B) and 550(a).
      CFT (NY) – Constructive Fraudulent Transfer (New York law)
            Avoidance and recovery of a constructive fraudulent transfer of an interest of the
            Individual Debtor in property from initial transferee pursuant to N.Y. DEBT. & CRED. §§
            273(a)(2), 274, and 276 and 11 U.S.C. §§ 544(b) and 550(a).
      UPT – Unauthorized Post-petition Transfer
            Avoidance and recovery of an unauthorized post-petition transfer of property of the estate
            from initial transferee pursuant to 11 U.S.C. §§ 549 and 550(a).
      ST – Recovery from Subsequent Transferee
            Recovery of an avoided transfer from a subsequent transferee pursuant to 11 U.S.C. §
            550(a).

      * Partially Stayed Claim
      ** Stayed Claim
      (Claims against neither Joint Defendant nor Non-Joint Defendant appear in parentheses)

      Alter Egos
      GSNY – Golden Spring (New York) Ltd.
      LC – Lamp Capital LLC
      HCHKT – HCHK Technologies, Inc.
      HCHKP – HCHK Property Management, Inc.
      LPS – Lexington Property and Staffing, Inc.
      GL – Greenwich Land, LLC
      LSNY – Leading Shine NY Ltd.

      [Alter egos involved in Avoidance Claim insofar as it is not stayed by Avoidance Action
      Procedures Order ¶ 2(e) appear in brackets]
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       1.   Complaint, Despins v. Agora Lab, Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P.
            No. 24-05005 (JAM) (Bankr. D. Conn. Feb. 9, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [GSNY, HCHKT, LPS]
            Second Claim:         AFT (NY)     [GSNY, HCHKT, LPS]
            Third Claim:          UPT          [HCHKT]

       2.   Amended Complaint, Despins v. Amazon Web Servs., Inc. (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05006 (JAM) (Bankr. D. Conn. Feb. 15, 2024), ECF No. 4.

            First Claim:          AFT (BC)*    [HCHKT, LPS, LSNY]
            Second Claim:         AFT (NY)*    [HCHKT, LPS, LSNY]
            Third Claim:          UPT          [HCHKT, LPS]

       3.   Complaint, Despins v. Direct Persuasion LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05010 (JAM) (Bankr. D. Conn. Feb. 9, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

       4.   Complaint, Despins v. Fox News Network, LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05015 (JAM) (Bankr. D. Conn. Feb. 9, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

       5.   Complaint, Despins v. Arri Americas Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05031 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          UPT          [HCHKP]

       6.   Complaint, Despins v. Teris-Phoenix, LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05044 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          UPT*         [LPS]

       7.   Complaint, Despins v. Phillips Nizer LLP (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05047 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC]
            Second Claim:         AFT (NY)     [LC]
            Third Claim:          UPT          [LPS]




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       8.   Complaint, Despins v. Gunderson (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No.
            24-05048 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

       9.   Complaint, Despins v. 270 W. 39th St. Co., LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05055 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          UPT          [LPS]

      10.   Complaint, Despins v. FFP (BVI) Ltd. (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05056 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LSNY]
            Second Claim:         AFT (NY)     [LSNY]
            Third Claim:          UPT**

      11.   Complaint, Despins v. Amazon.com, Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05057 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)*    [GSNY, HCHKT, LPS, GL]
            Second Claim:         AFT (NY)*    [GSNY, HCHKT, LPS, GL]
            Third Claim:          CFT (BC)*    [GSNY, HCHKT, LPS, GL]
            Fourth Claim:         CFT (NY)*    [GSNY, HCHKT, LPS, GL]
            Fifth Claim:          UPT*         [GSNY, LPS, GL]
            Sixth Claim:          (ST*)

      12.   Complaint, Despins v. Anthem Health Plans, Inc. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05058 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          UPT*         [HCHKP]

      13.   Complaint, Despins v. Fed. Express Corp. (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05059 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          UPT*         [LPS]

      14.   Complaint, Despins v. DJD Creative LLC (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05063 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]




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      15.   Complaint, Despins v. B&H Foto & Elecs. Corp. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05069 (JAM) (Bankr. D. Conn. Feb. 10, 2024), ECF No. 1.

            First Claim:          AFT (BC)*    [GSNY, HCHKT, LPS, GL]
            Second Claim:         AFT (NY)*    [GSNY, HCHKT, LPS, GL]
            Third Claim:          CFT (BC)*    [GSNY, HCHKT, LPS, GL]
            Fourth Claim:         CFT (NY)*    [GSNY, HCHKT, LPS, GL]
            Fifth Claim:          UPT*         [GSNY, HCHKT, GL]
            Sixth Claim:          (ST*)

      16.   Amended Complaint, Despins v. Am. Express Co. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05077 (JAM) (Bankr. D. Conn. Feb. 14, 2025), ECF No. 30.

            First Claim:          UPT*         [HCHKT, HCHKP]

      17.   Complaint, Despins v. Ohtzar Shlomo Solomon Treasure LLC (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05082 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          UPT          [HCHKP]

      18.   Complaint, Despins v. Zeta Glob. Corp. (In re Kwok), Case No. 22-50073 (JAM), Adv.
            P. No. 24-05092 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT, LPS]
            Second Claim:         AFT (NY)     [HCHKT, LPS]

      19.   Complaint, Despins v. GroCyber LLC (In re Kwok), Case No. 22-50073 (JAM), Adv. P.
            No. 24-05100 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

      20.   Complaint, Despins v. Conservative Campaign Tech., LLC (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05108 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

      21.   Complaint, Despins v. Mitchell (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No.
            24-05110 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LPS]
            Second Claim:         AFT (NY)     [LPS]
            Third Claim:          CFT (BC)     [LPS]
            Fourth Claim:         CFT (NY)     [LPS]



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      22.   Complaint, Despins v. Anthem HealthChoice Assurance, Inc. (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05112 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          UPT    [GSNY, LC, HCHKT]

      23.   Complaint, Despins v. ModSquad Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P.
            No. 24-05114 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT, LPS]
            Second Claim:         AFT (NY)     [GSNY, LC, HCHKT]

      24.   Complaint, Despins v. Cloudflare, Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P.
            No. 24-05115 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)*    [GSNY, HCHKT, LPS]
            Second Claim:         AFT (NY)*    [GSNY, HCHKT, LPS]
            Third Claim:          UPT*         [LPS]

      25.   Complaint, Despins v. 3 Columbus Circle LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05120 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          UPT          [HCHKP]

      26.   Complaint, Despins v. Indium Software Inc. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05122 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)*    [HCHKT, LPS]
            Second Claim:         AFT (NY)*    [HCHKT, LPS]
            Third Claim:          UPT          [HCHKT]

      27.   Complaint, Despins v. Miller Motorcars Inc. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05128 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC]
            Second Claim:         AFT (NY)     [LC]

      28.   Complaint, Despins v. On the Spot Home Improvement, Inc. (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05130 (JAM) (Bankr. D. Conn. Feb. 11, 2024), ECF No. 1.

            First Claim:          UPT          [HCHKP]


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      29.   Complaint, Despins v. V.X. Cerda & Assocs. P.A. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05134 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [GSNY]
            Second Claim:         AFT (NY)     [GSNY]
            Third Claim:          CFT (BC)     [GSNY]
            Fourth Claim:         CFT (NY)     [GSNY]
            Fifth Claim:          UPT*         [GSNY, HCHKP, LPS, GL]

      30.   Amended Complaint, Despins v. Liberty Jet Mgmt. Corp. (In re Kwok), Case No. 22-
            50073 (JAM), Adv. P. No. 24-05135 (JAM) (Bankr. D. Conn. Feb. 15, 2024), ECF
            No. 2.

            First Claim:          AFT (BC)*    [GSNY, LC]
            Second Claim:         AFT (NY)*    [GSNY, LC]

      31.   Complaint, Despins v. Target Enters., LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05138 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim: AFT (BC) [HCHKT]
            Second Claim: AFT (NY) [HCHKT]

      32.   Complaint, Despins v. Flat Rate Movers, Ltd. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05141 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim:          UPT          [GSNY]

      33.   Complaint, Despins v. Jamestown Assocs., LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05147 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [HCHKT]
            Second Claim:         AFT (NY)     [HCHKT]

      34.   Complaint, Despins v. Nardello & Co., LLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05162 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC, LPS]
            Second Claim:         AFT (NY)     [LC, LPS]


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      35.   Complaint, Despins v. Francis Firm PLLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05168 (JAM) (Bankr. D. Conn. Feb. 12, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC]
            Second Claim:         AFT (NY)     [LC]
            Third Claim:          CFT (BC)     [LC]
            Fourth Claim:         CFT (NY)     [LC]
            Fifth Claim:          UPT          [LC, LPS]

      36.   Amended Complaint, Despins v. Berkeley Rowe Ltd. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05186 (JAM) (Bankr. D. Conn. Aug. 15, 2024), ECF No. 23.

            First Claim:          AFT (BC)     [GSNY, LSNY]
            Second Claim:         AFT (NY)     [GSNY, LSNY]
            Third Claim:          CFT (BC)     [GSNY, LSNY]
            Fourth Claim:         CFT (NY)     [GSNY, LSNY]

      37.   Complaint, Despins v. Weddle Law PLLC (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05188 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1.

            First Claim:          UPT*         [HCHKT, HCHKP]

      38.   Complaint, Despins v. Morvillo Abramowitz Grand Iason & Anello P.C. (In re Kwok),
            Case No. 22-50073 (JAM), Adv. P. No. 24-05196 (JAM) (Bankr. D. Conn. Feb. 13,
            2024), ECF No. 1.

            First Claim:          UPT          [HCHKP, LPS]

      39.   Complaint, Despins v. Lawall & Mitchell, LLC (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05199 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1.

            First Claim:          AFT (BC)*    [GSNY, LC, LPS, LSNY]
            Second Claim:         AFT (NY)*    [GSNY, LC, LPS, LSNY]
            Third Claim:          CFT (BC)*    [GSNY, LC, LPS, LSNY]
            Fourth Claim:         CFT (NY)*    [GSNY, LC, LPS, LSNY]
            Fifth Claim:          UPT*         [GSNY, LPS, GL]
            Sixth Claim:          ST*

      40.   Complaint, Despins v. Clayman Rosenberg Kirshner & Linder LLP (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05202 (JAM) (Bankr. D. Conn. Feb. 13, 2024),
            ECF No. 1.

            First Claim:          AFT (BC)     [GSNY, LC]
            Second Claim:         AFT (NY)     [GSNY, LC]
            Third Claim:          UPT          [LC]



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      41.   Complaint, Despins v. G4S Sec. Sys. (H.K.) Ltd. (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05204 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC, LSNY]
            Second Claim:         AFT (NY)     [LC, LSNY]
            Third Claim:          UPT          [LC]

      42.   Complaint, Despins v. Zeisler & Zeisler, P.C. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05208 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1.

            First Claim:          UPT          [LC, GL]

      43.   Complaint, Despins v. Putnam’s Landscaping LLC (In re Kwok), Case No. 22-50073
            (JAM), Adv. P. No. 24-05211 (JAM) (Bankr. D. Conn. Feb. 13, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC, GL]
            Second Claim:         AFT (NY)     [LC, GL]
            Third Claim:          UPT          [LC, HCHKP, GL]

      44.   Complaint, Despins v. Jason Miller (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No.
            24-05219 (JAM) (Bankr. D. Conn. Feb. 14, 2024), ECF No 1.

            First Claim:          AFT (BC)     [HCHKT, LPS]
            Second Claim:         AFT (NY)     [HCHKT, LPS]
            Third Claim:          CFT (BC)     [HCHKT, LPS]
            Fourth Claim:         CFT (NY)     [HCHKT, LPS]

      45.   Complaint, Despins v. Sedgwick Realty Corp. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05222 (JAM) (Bankr. D. Conn. Feb. 14, 2024), ECF No. 1.

            First Claim:          UPT          [LC]

      46.   Complaint, Despins v. Cirrus Design Corp. (In re Kwok), Case No. 22-50073 (JAM),
            Adv. P. No. 24-05225 (JAM) (Bankr. D. Conn. Feb. 14, 2024), ECF No. 1.

            First Claim:          AFT (BC)     [LC, HCHKT, LSNY]
            Second Claim:         AFT (NY)     [LC, HCHKT, LSNY]
            Third Claim:          CFT (BC)     [LC, HCHKT, LSNY]
            Fourth Claim:         CFT (NY)     [LC, HCHKT, LSNY]
            Fifth Claim:          (ST)


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      47.   Second Amended Complaint, Despins v. ACASS Canada LTD. (In re Kwok), Case
            No. 22-50073 (JAM), Adv. P. No. 24-05226 (JAM) (Bankr. D. Conn. Aug. 29, 2024),
            ECF No. 22.

            First Claim:        AFT (BC)*     [GSNY, LC, HCHKT]
            Second Claim:       AFT (NY)*     [GSNY, LC, HCHKT]
            Third Claim:        UPT           [GSNY, LC]

      48.   Complaint, Despins v. Marcum LLP (In re Kwok), Case No. 22-50073 (JAM), Adv. P.
            No. 24-05229 (JAM) (Bankr. D. Conn. Feb. 14, 2024), ECF No. 1.

            First Claim:        AFT (BC)      [HCHKT, LPS]
            Second Claim:       AFT (NY)      [HCHKT, LPS]
            Third Claim:        CFT (BC)      [HCHKT, LPS]
            Fourth Claim:       CFT (NY)      [HCHKT, LPS]
            Fifth Claim:        UPT           [HCHKP, LPS]




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                                                APPENDIX E
                                         Selected Statutory Provisions

      Bankruptcy Code Provisions

      Definitions

      11 U.S.C. § 101(54)

      (54)   The term “transfer” means—

             (A)     the creation of a lien;

             (B)     the retention of title as a security interest;

             (C)     the foreclosure of a debtor’s equity of redemption; or

             (D)    each mode, direct or indirect, absolute or conditional, voluntary or involuntary, of
             disposing of or parting with—

                     (i)      property; or

                     (ii)     an interest in property.

      11 U.S.C. § 541(a)(1)

      (a)    The commencement of a case under section 301, 302, or 303 of this title creates an estate.
      Such estate is comprised of all the following property, wherever located and by whomever held:

             (1)    Except as provided in subsections (b) and (c)(2) of this section, all legal or
             equitable interest of the debtor in property as of the commencement of the case.

      Avoidance Provisions

      11 U.S.C. § 544(b)(1)

      (b) (1) Except as provided in paragraph (2), the trustee may avoid any transfer of an interest of
      the debtor in property or any obligation incurred by the debtor that is voidable under applicable
      law by a creditor holding an unsecured claim that is allowable under section 502 of this title or
      that is not allowable only under section 502(e) of this title.


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      11 U.S.C. § 548(a)(1)

      (a) (1) The trustee may avoid any transfer (including any transfer to or for the benefit of an
      insider under an employment contract) of an interest of the debtor in property, or any obligation
      (including any obligation to or for the benefit of an insider under an employment contract)
      incurred by the debtor, that was made or incurred on or within 2 years before the date of the
      filing of the petition, if the debtor voluntarily or involuntarily—

             (A)     made such transfer or incurred such obligation with actual intent to hinder, delay,
             or defraud any entity to which the debtor was or became, on or after the date that such
             transfer was made or such obligation was incurred, indebted; or

             (B)     (i)     received less than reasonably equivalent value in exchange for such
             transfer or obligation; and

                     (ii)     (I)     was insolvent on the date such transfer was made or such
                              obligation was incurred, or became insolvent as a result of such transfer or
                              obligation;

                              (II)   was engaged in business or a transaction, or was about to engage in
                              business or a transaction, for which any property remaining with the
                              debtor was an unreasonably small capital;

                              (III) intended to incur, or believed that the debtor would incur, debts
                              that would be beyond the debtor’s ability to pay as such debts matured; or

                              (IV) made such transfer to or for the benefit of an insider, or incurred
                              such obligation to or for the benefit of an insider, under an employment
                              contract and not in the ordinary course of business.

      11 U.S.C. § 549(a)

      (a)    Except as provided in subsection (b) or (c) of this section, the trustee may avoid a transfer
      of property of the estate—

             (1)     that occurs after the commencement of the case; and

             (2)     (A)      that is authorized only under section 303(f) or 542(c) of this title; or

                     (B)      that is not authorized under this title or by the court.


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     11 U.S.C. § 550(a)

     (a)     Except as otherwise provided in this section, to the extent that a transfer is avoided under
     section 544, 545, 547, 548, 549, 553(b), or 724(a) of this title, the trustee may recover, for the
     benefit of the estate, the property transferred, or, If the court so orders, the value of such
     property, from—

            (1)   the initial transferee of such transfer or the entity for whose benefit such transfer
            was made; or

            (2) any immediate or mediate transferee of such initial transferee.

     NYUVTA Provisions

     Definitions

     N.Y. CRED. & DEBT. §§ 270(b), (f), (p)

     (b)    “Asset” means property of a debtor, but the term does not include:

            (1)     property to the extent it is encumbered by a valid lien;

            (2)     property to the extent it is generally exempt under non-bankruptcy law; or

            (3)    an interest in property held in tenancy by the entirety to the extent it is not subject
            to process by a creditor holding a claim against only one tenant.

     ...

     (f)    “Debtor” means a person that is liable on a claim.

     ...

     (p)    “Transfer” means every mode, direct or indirect, absolute or conditional, voluntary or
     involuntary, of disposing of or parting with an asset or an interest in an asset, and includes
     payment of money, release, lease, license, and the creation of a lien or other encumbrance.


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     Avoidance Provisions

     N.Y. CRED. & DEBT. § 273(a)

     (a)     A transfer made or obligation incurred by a debtor is voidable as to a creditor, whether
     the creditor’s claim arose before or after the transfer was made or the obligation was incurred, if
     the debtor made the transfer or incurred the obligation:

            (1)     with actual intent to hinder, delay or defraud any creditor of the debtor; or

            (2)     without receiving a reasonably equivalent value in exchange for the transfer or
            obligation, and the debtor:

                    (i)    was engaged or was about to engage in a business or a transaction for
                    which the remaining assets of the debtor were unreasonably small in relation to
                    the business or transaction; or

                    (ii)   intended to incur, or believed or reasonably should have believed that the
                    debtor would incur, debts beyond the debtor’s ability to pay as they became due.

     N.Y. CRED. & DEBT. §§ 274(a), (b)

     (a)     A transfer made or obligation incurred by a debtor is voidable as to a creditor whose
     claim arose before the transfer was made or the obligation was made or the obligation was
     incurred if the debtor made the transfer or incurred the obligation without receiving reasonably
     equivalent value in exchange for the transfer or obligation and the debtor was insolvent at that
     time or the debtor became insolvent as a result of the transfer or obligation.

     (b)     A transfer made by a debtor is voidable as to a creditor whose claim arose before the
     transfer was made to an insider for an antecedent debt, the debtor was insolvent at that time, and
     the insider had reasonable cause to believe that the debtor was insolvent.


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     N.Y. CRED. & DEBT. § 276(a)

     (a)      In an action for relief against a transfer or obligation under this article, a creditor, subject
     to the limitations in section two hundred seventy-seven of this article, may obtain:

             (1)     avoidance of the transfer or obligation to the extent necessary to satisfy the
             creditor’s claim;

             (2)    an attachment or other provisional remedy against the asset transferred or other
             property of the transferee if available under applicable law; and

             (3)    subject to principles of equity and in accordance with applicable rules of civil
             procedure:

                     (i)     an injunction against further disposition by the debtor or a transferee, or
                     both, of the asset transferred or of other property;

                     (ii)   appointment of a receiver to take charge of the asset transferred or of other
                     property of the transferee; or

                     (iii)    any other relief the circumstances may require.




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                                         APPENDIX F
                           Incorporated Complaints Against Alter Egos

      1.   Golden Spring (New York) Ltd. (“Golden Spring”)

           Incorporated Complaint: Complaint, Despins v. Golden Spring (N.Y.) Ltd. (In re Kwok),
           Case No. 22-50073 (JAM), Adv. P. No. 23-05018 (JAM) (Bankr. D. Conn. July 25,
           2023), ECF No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego.
                  Second Claim: Beneficial ownership of entity and/or its assets.
                  Third Claims: Avoidance and recovery of actual fraudulent transfer.

           Disposition: Order Granting Motion for Default Judgment, Despins v. Golden Spring
           (N.Y.) Ltd. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 23-05018 (JAM)
           (Bankr. D. Conn. Dec. 4, 2023), ECF No. 35.

      2.   Lamp Capital LLC

           Incorporated Complaint: Complaint, Despins v. Lamp Cap. LLC (In re Kwok), Case No.
           22-50073 (JAM), Adv. P. No. 23-05023 (JAM) (Bankr. D. Conn. Oct. 26, 2023), ECF
           No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego (Lamp Capital LLC).
                  Second Claim: Beneficial ownership of Lamp Capital LLC and/or its assets.
                  Third Claim: Alter ego (Hudson Diamond NY LLC).
                  Fourth Claim: Beneficial ownership of Hudson Diamond NY LLC and/or its
                          assets.
                  Fifth Claim: Alter ego (Leading Shine NY Ltd.)
                  Sixth Claim: Beneficial ownership of Leading Shine NY Ltd. and/or its assets.

           Disposition: Default Judgment, Despins v. Lamp Cap. LLC (In re Kwok), Case No. 22-
           50073 (JAM), Adv. P. No. 23-05023 (JAM) (Bankr. D. Conn. Feb. 1, 2024), ECF No. 66.


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      3.   HCHK Technologies, Inc.

           Incorporated Complaint: Complaint, Despins v. HCHK Techs., Inc. (In re Kwok), Case
           No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM) (Bankr. D. Conn. June 8, 2023), ECF
           No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego.
                  Second Claim: Beneficial ownership of entity and/or its assets.
                  Third Claim: Permanent injunction.

           Disposition: Amended Default Judgment and Permanent Injunction, Despins v. HCHK
           Techs., Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM)
           (Bankr. D. Conn. June 24, 2024), ECF No. 297.

      4.   HCHK Property Management, Inc.

           Incorporated Complaint: Complaint, Despins v. HCHK Techs., Inc. (In re Kwok), Case
           No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM) (Bankr. D. Conn. June 8, 2023), ECF
           No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego.
                  Second Claim: Beneficial ownership of entity and/or its assets.
                  Third Claim: Permanent injunction.

           Disposition: Amended Default Judgment and Permanent Injunction, Despins v. HCHK
           Techs., Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM)
           (Bankr. D. Conn. June 24, 2024), ECF No. 297.

      5.   Lexington Property and Staffing, Inc.

           Incorporated Complaint: Complaint, Despins v. HCHK Techs., Inc. (In re Kwok), Case
           No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM) (Bankr. D. Conn. June 8, 2023), ECF
           No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego.
                  Second Claim: Beneficial ownership of entity and/or its assets.
                  Third Claim: Permanent injunction.

           Disposition: Amended Default Judgment and Permanent Injunction, Despins v. HCHK
           Techs., Inc. (In re Kwok), Case No. 22-50073 (JAM), Adv. P. No. 23-05013 (JAM)
           (Bankr. D. Conn. June 24, 2024), ECF No. 297.



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      6.   Greenwich Land LLC

           Incorporated Complaint: Complaint, Despins v. Greenwich Land, LLC (In re Kwok),
           Case No. 22-50073 (JAM), Adv. P. No. 23-05005 (JAM) (Bankr. D. Conn. Mar. 27,
           2023), ECF No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego
                  Second Claim: Beneficial ownership of entity

           Disposition: Summary Judgment, Despins v. Greenwich Land, LLC (In re Kwok), Case
           No. 22-50073 (JAM), Adv. P. No. 23-05005 (JAM) (Bankr. D. Conn. July 2, 2024), ECF
           No. 134.

      7.   Leading Shine NY Ltd.

           Incorporated Complaint: Complaint, Despins v. Lamp Cap. LLC (In re Kwok), Case No.
           22-50073 (JAM), Adv. P. No. 23-05023 (JAM) (Bankr. D. Conn. Oct. 26, 2023), ECF
           No. 1.

                  Alleged State of Formation: Delaware.
                  First Claim: Alter ego (Lamp Capital LLC).
                  Second Claim: Beneficial ownership of Lamp Capital LLC and/or its assets.
                  Third Claim: Alter ego (Hudson Diamond NY LLC)
                  Fourth Claim: Beneficial ownership of Hudson Diamond NY LLC and/or its
                          assets.
                  Fifth Claim: Alter ego (Leading Shine NY Ltd.)
                  Sixth Claim: Beneficial ownership of Leading Shine NY Ltd. and/or its assets.

           Disposition: Pending.




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                                            APPENDIX G
                          Briefing of Non-Joint Motions and Z&Z Objection

     Adv. P.                 Mot. ECF   Filed      Obj. ECF Filed      Rep. ECF     Filed
     24-05056
     Despins v. FFP (BVI)       17      8/12/24       20    10/11/24        22      11/11/24
     Ltd.
     24-05110
                                19      5/24/24       23     7/23/24        24      8/22/24
     Despins v. Mitchell
     24-05134
     Despins v. V.X. Cerda      16       6/5/24       20     8/5/24         21       9/3/24
     & Assocs. P.A.
     24-05135
     Despins v. Liberty Jet     19      6/20/24       24     9/16/24        27      10/16/24
     Mgmt. Corp.
     24-05168
     Despins v. Francis Firm    15      5/29/24       19     7/29/24        20      8/28/24
     PLLC
     24-05186
     Despins v. Berkeley        35      10/12/24      42    12/11/24        51      1/10/25
     Rowe Ltd.
     24-05188
     Despins v. Weddle Law      11      4/22/24       17     6/21/24        27       8/2/24
     PLLC
     24-05199
     Despins v. Lawall &        21      5/24/24       26     7/23/24        27      8/22/24
     Mitchell, LLC
     24-05204
     Despins v. G4S Sec.        19      8/22/24       23    10/21/24        25      11/20/24
     Sys. (H.K.) Ltd.
     24-05208
     Despins v. Zeisler &       17       8/2/24       21     9/6/24         22      9/20/24
     Zeisler, P.C.
     24-05226
     Despins v. ACASS           26      9/12/24       33    11/12/24        41      12/20/24
     Canada LTD.
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                                                    APPENDIX H
                                                  Transfer Diagrams

           Alleged Form of Transfers:

                       A(Individual Debtor)                         C(Joint Defendant)
                                 (Transfer of A’s property through alter ego B)

           Joint Defendants’ Interpretation of Form of Transfers:

              A(Individual Debtor) = B(Alter ego)                            C(Joint Defendant)
                      (Alter ego determination)      (Transfer of B’s property)
